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EXHIBIT “I”
Case 7:14-cv-03523-KMK Document 55-16 Filed 11/08/16 Page 2 of 68

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
Xx

BENITO RODRIGO FAJARDO TARQUI and
LUIS A. FARJARDO, as Administrators of the
Estate of MARIA T. QUIRIDUMBAY, Deceased,
Affirmation
Plaintiffs,
-against-

UNITED STATES OF AMERICA,

Defendant.
x

DOUGLAS R. PHILLIPS, MD, a Doctor of Medicine duly licensed to practice in the
State of New York, affirms the following under CPLR section 2106:

I affirm that the opinions set forth in my reports dated June 23, 2015 and November 20,
2015, are true and correct within a reasonable degree of medical certainty. The contents of the
reports are incorporated herein by reference.

Dated: Merrick, New York
October z#, 2016

ays”

DOUG R. PHILLIPS, MD

Case 7:14-cv-03523-KMK Document 55-16 Filed 11/08/16

DOUGLAS R. PHILLIPS, M.D., P.C.
1621 JAMES STREET
MERRICK, NEW YORK 11566
(516)223-7200 F(516)223-4123

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DOUGLAS R. PHILLIPS, M.D., F.A.C.0.G., FACS, F.L.CS.
Certified American Board of Obstetrics and Gynecology
Fellow of American College of Obstetrics and Gynecology
Diplomat, American Board of Obstetrics and Gynecology
Fellow of American College of Surgeons
Fellow of International College of. Surgeons
Certified American Board af Laser Surgeons
Certified in Advanced Operative Laparoscopy and Advanced Operative
Hysteroscopy by Accreditation Council for Gynecologic Endoscopy
Clinical Associate Professor, Dept. of Obstetrics and Gynecology
School of Medicine, State University of New York at Stony Brook

June 23, 2015

TO: Andrew Friedman, Esq.
Friedman Sanchez, LLP
16 Court Street, 26" Floor
Brooklyn, NY 11241

RE: Maria Quindumbay

Dear Mr. Friedman:

As requested, I have reviewed and analyzed the following medical legal documentation to

determine whether Ms. Maria Quindumbay received medical treatment within the standards of

medical care:

1) Hudson Valley Hospital Records of Maria Quindumbay (07/13/10 - 07/15/ 10;

07/26/10, 07/28/10);

2) Hudson Valley Hospital Records of Baby Quindumbay (07/14/10 - 07/23/1 0);
3) Westchester Medical Center Records of Maria Quindumbay (07/28/10 - 07/29/1 0);
4) Westchester Medical Center Records of Marja Quindumbay (07/05/06 - 07/29/1 0); and

5) Deposition Transcript of Hyun Chung, M.D. (dated 04/29/14).

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SUMMARY:

On 07/13/10 at 8:10 p.m., Mrs. Maria Quirumbay, at age 25, G2 P1-0-0-1, LMP 10/15/09, EDC
07/10/10, was admitted to Hudson Valley Hospital for labor and delivery. Past obstetrical history
was remarkable for a full term normal Spontaneous vaginal delivery which was uncomplicated.
Her antepartum was significant for a diagnosis of rheumatoid arthritis x 3 years treated with
prednisone 5-10 mg (increased to 10 mg after MFM visit on 5/26/10) as well as a positive PPD
(Chest XR on 01/06/10 revealed no infiltrate). On 04/29/10, RA Latex Turbid was 380.2 (n, 0.0-
13.9U/ml H). “Stress dose steroids were given for labor and delivery.”

Upon admission, she was placed on 100 mg IVPB of Salu Medrol (received at 12:00 p.m.),

At 2:25 p.m., artificial Tupture of membranes occurred, and at 3:30 p.m., baby was delivered via

normal spontaneous vaginal delivery.

On 07/14/10 and 07/15/10, prednisone 20 mg bid and prednisone 10 mg bid, respectively was

given.

The post partum course was complicated by maternal fevers. On 07/14/10 at 12:51 am.,
temperature was 102.2°F; at 5:00 p.m., temperature was 101.9°F: and at 10:00 p.m., temperature
was 101.4. The patient complained of hip pain, cramps, chills, and shivering. No abdominal
tenderness was noted. A pelvic exam was not performed. The plan was to empirically treat for
presumed postpartum endometritis with Ancef | gm IV q 6 hr (three doses: 07/14/10 at 6:38
p.m., 07/15/10 at 2:00 a.m., and 07/15/10 at 8:00 am. [discontinued on 07/15/10 at 12:23 p-m.])
and Clindamycin 600 mg IV (two doses: 07/14/10 at 6:42 p.m. and 07/15/10 at 3:45 a.m.
[discontinued on 07/15/10 at 8:33 a.m.]). On 07/15/10 at 10:45 am., an order to discontinue [V

antibiotics was given.

At 2:30 p.m., the temperature was noted to be 98.2°F. No abdominal tenderness was noted. A

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pelvic exam was not performed. Blood cultures were collected on 07/14/10, at 5:50 p.m. (only
one set), and the preliminary report on 07/15/10 at 6:57 a.m. initially revealed gram positive
cocci in chains, and on 07/15/10 at 12:07 p.m., the culture was positive for Streptococcus
pyogenes (Group A). On 07/14/10 at 10:00 p.m., it was noted that the WBC was 19.2, and the
Bands were 31.0. On 07/15/10 at 5:00 a.m., the WBC was with Neutro percent 96.8, Neutro
absolute 33.0. On 07/16/10, at 11:57 am., the WBC 23.5, Neutro percent 94.3, Neutro absolute
22.1.

According to the Discharge Note, on 07/14/1 0, “last temperature was at 5:00 p.m.” At 7:30 a.m.,
BP was 89/49, and at 4:56 p-m., BP was 105/58. On 07/15/1 0, the current temperature was

98.2°F. At 4:16 a.m., BP was 87/57, at 7:30 a.m., BP was 89/49, and at 4:00 p.m., BP was 98/50.
The physical exam was noted to be unremarkable, but no pelvic exam was apparently performed.

The plan was to follow-up blood cultures,

On 07/15/10, since patient remained afebrile for 24 hours, she was discharged home with
antibiotics. Visiting nurse services and close interval office followup arranged for patient.

Patient was to continue prednisone.

On 07/15/10, the baby was admitted to the NICU and placed on antibiotics due to a maternal

Streptococcus bacteremia. Blood cultures were negative, and the antibiotics were discontinued.

On 07/26/14, Ms. Quindumbay returned to Hudson Valley Hospital with complaints of aches in

legs and knee and was sent home with Toradol and Vicodin.

On 07/28/14, she presented to Hudson Valley again and complained of pain in multiple joints,
She was again sent home with pain medications. At home, her visiting nurse told her to go back

to the ER because her temperature was so abnormally low.

Later that day, she presented to Westchester Medical Center where she was admitted with

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lethargy and purulent discharge from the cervical os.
On 07/29/10, she died from septic shock.

ANALYSIS:

Long-term steroids can suppress the protective role of the immune system and increase the risk
of infection. Group A streptococcus (GAS) (eg., Streptococcus pyogenes) infection should be
suspected in patient with early onset, high fever with hypotension. F urther, a left shift in the

differential blood count is suggestive of an infectious process.

CONCLUSIONS:

With a reasonable degree of medical certainty and probability, the attending physicians and staff
at Hudson Valley Hospital deviated from accepted medical standards, and these deviations were

substantial factors in causing the death of Maria Quiridumbay.

The risk for harm to Ms. Maria Quiridumbay was substantially increased due to the following

acts of negligence and omissions:

1) Failure to perform a pelvic exam with a presumed diagnosis of postpartum endometritis.

Uterine tenderness is a key finding in a woman with endometritis;

2) Failure to use a total of three blood culture sets. Only one set was used which is rarely
advisable or sufficient. A positive single culture may not be interpretable unless an unequivocal
pathogen is isolated. If a possible contaminant is reported on a single culture, additional culture
data are needed, and in interim, unnecessary antimicrobial therapy or unnecessary testing may be

pursued. Blood cultures are especially useful if the patient is immunocompromised as she was;

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3) Failure to get an Infectious Disease consult in the presence of an immunocompromised patient
with a presumed postpartum endometritis with symptoms consistent and confirmed by blood
cultures indicative of a GAS infection; and

4) Failure to continue antibiotics until patient is clinically improved (no fundal tenderness) and
afebrile for at least 24 hours. If bacteremia is present as indicated by a positive blood culture,

oral antibiotic therapy after discontinuation of parenteral antibiotics to complete a seven-day total

course of antibiotic therapy.
All of my opinions, which are offered within a reasonable degree of medical probability and

certainty, are based solely on the medical documentation reviewed and are subject to

modification if and when any additional documentation is subsequently forwarded for review.
Sincerely,

LP rg lone He. Ci Mya, ee P ;

Douglas R. Phillips, M.D.
DRP:mp

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DOUGLAS R. PHILLIPS, M.D., P.C.
1621 JAMES STREET
MERRICK, NEW YORK 11566
(516)223-7200 F(516)223-4123

DOUGLAS R, PHILLIPS, AMLD., FACO.G., FACS. F.LCS.
Certified American Board of Obstetrics and Gynecology
Fellow of American Collepe of Obstetrics and Gynecology
Diplomat, American Board of Obstetrics and Gynecology
Fellow of American College of Surgeons
Fellow of International College of Surgeons
Certified American Board of Laser Surgeons
Certified in Advanced Operative Laparoscopy and Advanced Operative
Hysterascopy by decreditotion Council for G} iynecologic Endoscopy
Clinical Associate Professor, Dept. of Obstetries and Gynecology
School of Medicine, State University of New York at Stony Brook
Clinical Associate Professor, Dept, of Obstetrics and Gynecology
Hofstra North Shore-LU School of Medicine at Hofstra University

November 20,2015 DRAFT, CONFIDENTIAL, WORK-PRODUCT

TO: Andrew Friedman, Esq.
Friedman Sanchez, LLP
16 Court Street, 26" Floor
Brooklyn, NY 11241

RE: Maria Quiridumbay (Supplemental Report)

Dear Mr. Friedman:

As requested, ] have reviewed and analyzed the following additional medical legal
documentation to determine whether Ms. Maria Quiridumbay received medical treatment within
the standards of medical care:

1) Deposition transcript of Sachin J. Shah, M.D. {dated 07/31/15);

2) Deposition transcript of Ingrid Deler-Garcia, C.N.M. (dated 08/06/15);

3) Deposition transcript of Rahmir Kar, M.D. (dated 09/04/15); and

4) Deposition transcript of Lindsay Seekircher, R.N. (dated 10/20/15).

The additional review did not change my opinion expressed in my 06/22/15 report, but instead

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clarified and bolstered them.

BRIEF SYNOPSIS:

On 07/13/10, Mrs. Marta Quiridumbay was admitted to Hudson Valley Hospital for labor and
delivery. Her antepartum was significant for a diagnosis of rheumatoid arthritis x 3 years treated
with prednisone 5-10 mg. Upon admission, she was placed on 100 mg [VPB of Solu Medrol. At
3:30 p.m., the baby was delivered via normal spontaneous vaginal delivery by the nurse midwife,
Ms. Ingrid Deler-Garcia.

On 07/14/10 and 07/15/10, prednisone 20 mg bid and prednisone 10 me bid, respectively was

given.

The post partum course was complicated by maternal fevers. On 07/14/10 at 12:51 aL,
temperature was 102.2°F; at 5:00 p.m., temperature was 101.9°F; and at 10:00 p.m., temperature
was 101.4°F, According to the deposition testimony of Dr. Rahmir Kar, the covering obstetrician
for Ms. Deler-Garcia, NM, “The most common reason for febrile morbidity in the postpartum
period can be from endometritis (pg. 50).” The patient complained of hip pain, cramps, chills,
and shivering, bul no pelvic exam was performed. The plan was to empirically treat for
presumed postpartum endometritis with Ancef ] gm IV q 6 hr (three doses: 07/14/10 at 6:38
p.m., 07/15/10 at 2:00 a.m., and 07/15/10 at 8:00 am. [discontinued on 07/15/10 at 12:23 p.m.])
and Clindamycin 600 mg IV (two doses: 07/14/10 at 6:42 p.m. and 07/15/10 at 3:45 a.m.
(discontinued on 07/15/10 at 8:33 a.m.J). On 07/15/10 at 10:45 &.m., an order to discontinue IV
antibiotics was given. According to the deposition testimony of Dr. Kar, the plan formulated
with Dr. Sarah Jordan, an obstetrician that was taking over coverage from Dr. Kar, involved
discontinuing the antibiotic therapy until the antibiotic sensitivity results were determined so that
the proper antibiotic regimen could be administered (pp. 22-23). Consequently, Dr. Kar ordered
that the antibiotic administration be discontinued (pg. 70).

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On 07/15/10, at 2:30 p.m., the temperature was noted to be 98.2°F. No abdominal tenderness
was nated. A pelvic exarn was not performed. Blood cultures were collected on 07/14/10, at
5:50 p.m. (only one set), and the preliminary report on 07/15/10 at 6:57 a.m. initially revealed
gram positive cocci in chains, and on 07/15/10 at 12:07 p.m., the culture report revealed the
presence of Streptococcus pyogenes (Group A). According to the deposition testimony of Ms.
Deler-Garcia, the positive result was phoned in at 7:03 a.m, which was prior to the patient being
discharged (pg. 53).

On 07/14/10 at 10:00 p.m., it was noted that the WBC was 19.2, and the Bands were 31.0. On
07/15/10 at 5:00 a.m., the WBC was with Neutro percent 96.8, Neutro absolute 33.0. On
07/16/10, at 11:57 a.m., the WBC 23.5, Neutro percent 94.3, Neutro absolute 22.1.

According to the Discharge Note, on 07/14/10, “last temperature was at 5:00 p.m.” At 7:30 am.,
BP was 89/49, and at 4:56 p.m., BP was 105/58. On 07/15/ 10, the current temperature was

98.2°F. At 4:16 am., BP was 87/57, at 7:30 a.m., BP was 89/49, and at 4:00 p.m., BP was 98/50.
The physical exam was noted to be unremarkable, but no pelvic exam was apparently performed.

The plan was to follow-up blood cultures.

On 07/15/10, since patient remained afebrile for 24 hours, she was discharged home. Ms.
Quiridumbay was to continue prednisone, but no prescription for antibiotics was given.
According to the deposition testimony of Dr. Kar, she was unaware that Ms. Quiridumbay was
discharged without antibiotics (pg. 57). Visiting nurse services were arranged for the patient.

On 07/15/10, the baby was admitted to the NICU and placed on antibiotics due to a maternal

Streptococcus bactcremia. Blood cultures were negative, and the antibiotics were discontinued.

On 07/26/14, Ms. Quiridumbay went to Hudson Valley Hospital ER with complaints of aches in
legs and knee. According to the deposition testimony of Dr. Kar, after being informed that the
patient's visiting nurse had called regarding “something is going on,” Dr. Kar called the

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Emergency Room physician, Dr. Chung, to inform him about the patient’s impending arrival and
to discuss the “issues during her postpartum course (pp. 39-41).” When Dr. Kar spoke to Dr.
Chung, she was aware that the patient had a positive blood culture (pg. 94). Further, Dr. Kar
noted that Dr. Chung had the patient’s chart (pg. 46). Despite the “head’s up” about the events
during the postpartum course, Ms. Quiridumbay was sent home with Toradol and Vicodin, but

no pelvic exam was performed, and no antibiotics were prescribed (pg. 47).
On 07/28/14, she presented to Hudson Valley again and complained of pain in multiple joints.
She was again sent home with pain medications. At home, her visiting nurse told her to go back

to the ER because her temperature was so abnormally low.

Later that day, she presented to Westchester Medical Center where she was admitted with
lethargy and purulent discharge from the cervical os.

On 07/29/10, she died from septic shock.

ANALYSIS:

With a reasonable degree of medical certainty and probability, the attending physicians and staff
at Hudson Valley Hospital deviated from accepted medical Standards, and these deviations were
substantial factors in causing the death of Maria Quiridumbay,

in addition to the acts of negligence and omissions cited in my 06/22//15 Report, the risk for
harm to Ms. Maria Quiridumbay was substantially increased due to the following acts of

negligence and omissions:

1) Failure to perform a pelvic exam with a presumed diagnosis of postpartum endometritis,

Uterine tenderness is a key finding in a woman with endometritis;

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2) Failure to use a total of three blood culture sets. Only one set was used which is rarely
advisable or sufficient. A positive single culture may not be interpretable unless an unequivocal
pathogen is isolated. If a possible contaminant is reported on a single culture, additional culture
data are needed, and in interim, unnecessary antimicrobia} therapy or unnecessary testing may be
pursued. Blood cultures are especially useful if the patient is immunocompromised as she was.
Dr. Kar in her deposition testimony stated that two sets of blood cultures was required (p. 15) and
although three blood culture sets should have been obtained, clearly she realized one set of

cultures is not sufficient;

3) Failure to get an Infectious Disease consult in the presence of an immunocompromised patient
with a presumed postpartum endometritis with symptoms consistent and confirmed by blood

cultures indicative of a GAS infection; and

4) Failure to continue antibiotics until patient is clinically improved (no fundal tenderness) and
afebrile for at least 24 hours. If bacteremia is present as indicated by a positive blood culture,
oral antibiotic therapy after discontinuation of parenteral antibiotics is required to complete a

seven-day total course of antibiotic therapy.
All of my opinions, which are offered within a reasonable degree of medical probability and
certainty, are based solely on the medical documentation reviewed and are subject to

modification if and when any additional documentation is subsequently forwarded for review.

Sincerely,

Douglas R. Phillips, M.D.
DRP:mp

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DOUGLAS R. PHILLIPS, MD, FACOG, FACS, FICS
2428 MERRICK ROAD
BELLMORE, NEW YORK 11710

(516)379-2689 F(316)867-3880
MAY 19, 2016

DUCATION:

Residency:

Nassau County Medical Center, East Meadow, New York 1975-1979
Department of Obstetrics and Gynecology

Chief Resident, July 1978-June1979

Medical School:
State University of New York Health Science Center at Brooklyn
(Formerly Downstate Medical Center) September 1971-May 1975
M.D. May 1975

Undergraduate:

State University of New York at Stony Brook September 1967-May 1971
B.S. in Biology May 1971

Summa Cum Laude

MEDICAL PRACTICE:

Long Island Women's Health Care Associates, M.D., P.C. (Accredited by Joint
Commission for Office Based Surgery) July 1979-November 2011

Howard G. Nathanson, M.D., Douglas R. Phillips, M.D., Ronnie Salzman, M.D., Sudha
Kuncham, MD, FACOG, Lauren Bashian, M.D., Annie Frankel, M.D.; and Carol Caico,
PhD, CS, OGNP

Northwell Health Physician Partners OB/GYN at Bellmore (formerly North Shore-LIJ
Medical Group) Long Island Women's Health Care (Accredited by American Association
for Accreditation of Ambulatory Surgery Facilities, Inc.)-November 201 1-Present

1
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Howard G, Nathanson, M.D., Douglas R. Phillips, M.D., Ronnie Salzman, M.D., Sudha
Kuncham, MD, FACOG, Laura Bashian, M.D., Annie Frankel, M.D., and Carol Caico,
PhD, CS, OGNP
2428 Merrick Road
Bellmore, New York 11710
(516)379-2689
BOARD CERTIFICATIONS AND FELLOWSHIPS:
Board Certified by the American Board of Obstetrics and Gynecology (1988)

Recertified by the American Board of Obstetrics and Gynecology (1997, 2005, 2006,
2007, 2008, 2009, 2010, 2011, 2012, 2013, 2014, and 2015)

Board Certified by the American Board of Laser Surgery (Gynecology) (1988)
Fellow of the American College of Obstetrics and Gynecology (1988)

Fellow of the American College of Surgeons (1992)

Fellow of the International College of Surgeons (1994)

Fellow of the Nassau Academy of Medicine (1994)

Fellow of the American Society for Laser Medicine and Surgery (1988)

Fellow of the American Society for Colposcopy and Cervical Pathology (1989)

FACULTY APPOINTMENT:

Clinical Assistant Professor of Obstetrics and Gynecology, Department of Obstetrics
and Gynecology, School of Medicine, State University of New York at Stony Brook
(1992-1996)

Clinical Associate Professor of Obstetrics and Gynecology, Department of Obstetrics and
Gynecology, School of Medicine, State University of New York at Stony Brook
(1996-Present)

Clinical Associate Professor of Obstetrics and Gynecology, Department of Obstetrics and

Gynecology, Hofstra Northwell (formerly North Shore-LIJ) School of Medicine at
Hofstra University (2012-Present)

CERTIFICATION:
Case 7:14-cv-03523-KMK Document 55-16 Filed 11/08/16 Page 15 of 68

Advanced Operative Laparoscopy and Advanced Operative Hysteroscopy-- Accreditation
Council for Gynecologic Endoscopy (1996)
MEMBERSHIPS IN PROFESSIONAL SOCIETIES:

American Association of Gynecologic Laparoscopists
National Advisory Committee Member

European Society for Gynaecological Endoscopy
Gynecologic Laser and Advanced Technology Society
International Society for Gynecologic Endoscopy
Nassau County Medical Society

Nassau County Obstetrics and Gynecology Society
Nassau County Surgical Society

New York State Medical Society

New York State Society of Obstetricians and Gynecologists

MEMBERSHIPS IN JOURNAL REVIEW COMMITTEES:

Ad Hoc Review Committee of the Journal of American Association of Gynecologic
Laparoscopists 1997-2002, 2009-Present

Editorial Advisory Board of the Journal of American Association of Gynecologic
Laparoscopists, 2005-2010

Editor of the Journal of American Association of Gynecologic Laparoscopists 2002-2005

Editorial Consultant for Obstetrics and Gynecology 1997-Present

CURRENT HOSPITAL STAFF AFFILIATIONS:

Long Island Jewish Medical Center (teaching affiliate of Albert Einstein School of
Medicine), Lake Success, New York

South Nassau Communities Hospital, Oceanside, New York

3
Case 7:14-cv-03523-KMK Document 55-16 Filed 11/08/16 Page 16 of 68

Nassau University (formerly Nassau County) Medical Center, East Meadow, New York
July 1979-Present
HOSPITAL APPOINTMENTS AND COMMITTEES:

Chief, Gynecology, Department of Obstetrics and Gynecology, South Nassau
Communities Hospital, Oceanside, New York 2000-2006

Chief, Division of Gynecologic Endoscopy and Laser Surgery, Department of Obstetrics
and Gynecology, South Nassau Communities Hospital, Oceanside, New York 1992-2006

Chief, Division of Minimally Invasive Surgery, Department of Surgery, South Nassau
Communities Hospital, Oceanside, New York 1994-2006

Obstetrics and Gynecology Quality and Assurance Committee, South Nassau
Communities Hospital, Oceanside, New York 1981-2012

Hospital Physician Organization Committee, South Nassau Communities Hospital,
Oceanside, New York 1993-1996

Laser Committee, South Nassau Communities Hospital, Oceanside, New York
1988-1994

Continuing Education Committee, South Nassau Communities Hospital, Oceanside, New
York 1993-2011

Co-Director of the Department of Gynecology, Hempstead General Hospital, Hempstead,
New York 1991-1993

Executive Committee of the Medical Staff, Nassau County Medical Center, East
Meadow, New York, 1988-1990

Executive Committee of the Medical Staff, Hempstead General Hospital, Hempstead,
New York 1991-1993

Operating Room Committee, Hempstead General Hospital, Hempstead, New York
1991-1993

DIDACTIC TEACHING:
“The Utilization of the CO: Laser in Gynecology,” Obstetrics and Gynecology
Attendings, Grand Rounds, South Nassau Communities Hospital, Oceanside, New York

1989

“Endometrial Ablation,” Family Practice Grand Rounds, Attendings and Residents, South
4
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Nassau Communities Hospital, Oceanside, New York, C.M.E. Credit, 1990

“GnRH and Endometriosis’”" Family Practice Grand Rounds, Attendings and Residents,

South Nassau Communities Hospital, Oceanside, New York, C.M.E. Credit, 1991

“GnRH and Endometriosis,” Dinner Program with Obstetrics and Gynecology Residents
from Long Island, New York 1991

“Alternatives to Hysterectomy,” Obstetrics and Gynecology Attendings and
Residents, Obstetrics and Gynecology Grand Rounds, Mercy Medical Center,
Rockville Centre, New York, C.M.E. Credit, January 29, 1992

“Endometrial Ablation and Laparoscopic Hysterectomy,”" Obstetrics and Gynecology
Residents, Nassau County Medical Center, East Meadow, New York (Two Separate
Occasions) 1992

“Alternatives to Hysterectomy,” Obstetrics and Gynecology Attendings and Residents,
Obstetrics and Gynecology Grand Rounds, Winthrop University Hospital, Mineola, New
York, C.M.E. Credit, May 7, 1992

“Alternatives to Hysterectomy,” Obstetrics and Gynecology Attendings, Brooklyn, New
York, June 15, 1992

“Endometrial Ablation and Laparoscopic Hysterectomy,” Obstetrics and Gynecology
Attendings and Residents, Obstetrics and Gynecology Grand Rounds, North Shore
University Hospital, Manhasset, New York, C.M.E. Credit, October 14, 1992

“Endometrial Ablation, Laparoscopic Hysterectomy, and Laparoscopic Myoma
Coagulation (Myolysis),” Nurses, Nursing Students, Nursing Technicians, Nassau
Community College, Garden City, New York, November 11, 1992

“Endometrial Ablation, Laparoscopic Hysterectomy, and Laparoscopic Myoma
Coagulation (Myolysis)," Obstetrics and Gynecology Attendings, Mid-Island
Hospital, Bethpage, New York, C.M.E. Credit, November 16, 1992

“Endometrial Ablation,” Obstetrics and Gynecology Attendings, Obstetrics and
Gynecology Grand Rounds, Saint Peter's Medical Center, New Brunswick, New Jersey,
C.M.LE. Credit, November 25, 1992

“Alternatives to Traditional Hysterectomy,” Nassau County Surgeons, Nassau County
Surgical Society Day, C.M.E. Credit, December 2, 1992

“Myoma Management,” Obstetrics and Gynecology Attendings, Obstetrics and
Gynecology Grand Rounds, Wilson Memorial Regional Medical Center, Johnson City,
New York, C.M.E. Credit, December 3, 1992
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“Alternatives to Traditional Hysterectomy,” South Nassau Communities Hospital
Attendings, 4th Annual South Nassau Communities Hospital Medical Conference, Aruba,
C.M.E. Credit, December 8, 1992

“Endometrial Ablation and Uterine Fibroids,” Obstetrics and Gynecology Attendings,
New Rochelle Hospital, Eastchester, New York, December 14, 1992

“Management of Leiomyomata Uteri (Including Myoma Coagulation),”" Obstetrics and
Gynecology Attendings, Obstetrics and Gynecology Grand Rounds, Saint Peter's Medical
Center, New Brunswick, New Jersey, C.M.E. Credit, January 27, 1993

“Management of Leiomyomata Uteri (Including Myoma Coagulation),’" Obstetrics and
Gynecology Attendings, Albany, New York, February 1, 1993

“GnRH Analogs and Estrogen Replacement,” Obstetrics and Gynecology Attendings and
Residents, Obstetrics and Gynecology Grand Rounds, Danbury Hospital,
Connecticut, C.M.E. Credit, February 8, 1993

“Fibroids, Treatments, and Complications,” Obstetrics and Gynecology Attendings,
West Orange, New Jersey, February 25, 1993

“Fibroids, Treatments, and Complications,” Obstetrics and Gynecology Attendings,
Residents, and Medical Students, Obstetrics and Gynecology Grand Rounds, Staten
Island University, Staten Island, C.M.E. Credit, New York, March 3, 1993

“Operative Hysteroscopy and Management of Leiomyomata Uteri,’”" Obstetrics and
Gynecology Attendings, Mt Vernon Hospital, Mt. Vernon, New York, March 7, 1993

“Endometriosis,” Obstetrics and Gynecology Attendings, Community Health Plan,
Albany, New York, March 24, 1993

“Operative Hysteroscopy and Myoma Coagulation,” Obstetrics and Gynecology
Attendings, Yonkers General Hospital, Scarsdale, New York, March 30, 1993

“Common Causes of Pelvic Pain: Endometriosis and Leiomyomata Uteri,” Internal
Medicine, General Practioners, Family Practioners, and Obstetrics and Gynecology
Attendings, Internal Medicine Grand Rounds, Benedectine Hospital, Kingston, New
York, C.M.E. Credit, April 10, 1993

“Uterine Fibroid Management and Diagnosis and Treatment of Endometriosis,”
Obstetrics and Gynecology Attendings, Brooklyn, New York, April 22, 1993

“Endometriosis,” Obstetrics and Gynecology Attendings, Metropolitan H.LP. HMO, New
York, New York, April 26, 1993
“Operative Hysteroscopy, Laparoscopic Hysterectomy, Medical and Surgical

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Management of Leiomyomata Uteri,” Obstetrics and Gynecology Attendings, Suffolk
County, New York, May 3, 1993

“Operative Hysteroscopy and Medical and Surgical Management of Leiomyomata Uteri,”
Obstetrics and Gynecology Attendings, Hartford, Connecticut, May 6, 1993

“Operative Hysteroscopy and Medical and Surgical Management of Leiomyomata Uteri,”
Obstetrics and Gynecology Attendings and Residents, Obstetrics and Gynecology
Grand Rounds, Mt. Sinai Hospital, Hartford, Connecticut, C.M.E. Credit, May 7, 1993

“Endometrial Ablation,” Obstetrics and Gynecology Attendings and Residents, Obstetrics
and Gynecology Grand Rounds, Nassau County Medical Center, East Meadow, New
York, C.M.E. Credit, May 11, 1993

“Management of Uterine Fibroids,” Obstetrics and Gynecology Attending, Residents, and

Medical Students, Obstetrics and Gynecology Grand Rounds, Attendings and
Residents, Long Island Jewish Medical Center, Lake Success, New York, C.MLE. Credit,
May 19, 1993

“Laparoscopic Hysterectomy,” Obstetrics and Gynecology Attendings and Residents,
Obstetrics and Gynecology Grand Rounds, Nassau County Medical Center, East
Meadow, New York, C.M.E. Credit, May 25, 1993

“Operative Hysterectomy,” Obstetrics and Gynecology Attendings, Poughkeepsie, New
York, C.M.E. Credit, May 26, 1993

“Medical and Surgical Management of Endometriosis,” Obstetrics and Gynecology
Attendings, Obstetrics and Gynecology Grand Rounds, Washington Hospital Center,
Washington, D.C., C.M.E. Credit, June 8, 1993

“Operative and Medical Management of Uterine Fibroids,” Obstetrics and Gynecology
Attendings, St. John’s of Queens Hospital, Great Neck, New York, C.M.E., June 10, 1993

“Endometrial Ablation,” Hysteroscopy and Operative Laparoscopy Conference,
Obstetrics and Gynecology Attendings, John F. Kennedy Medical Center, Edison, New

Jersey, C.M.E. Credit, June 26, 1993

Chief Instructor, Operative Endoscopy “Hands-On” Laboratory with live and inanimate

tissue, Hysteroscopy and Operative Laparoscopy Conference, Obstetrics and
Gynecology Attendings, John F. Kennedy Medical Center, Edison, New Jersey, C.M.E.

Credit, June 27, 1993

“Endometriosis and Leiomyomata Uteri,” Moderator of Round Table Discussions,
Obstetrics and Gynecology Attendings, Albany, New York, C.M.E. Credit, June 29,

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1993

“Endometriosis, Operative Hysteroscopy, and Management of Leiomyomata Uteri,”
Moderator of Round Table Discussions, Obstetrics and Gynecology Attendings,
Schenectady, New York, C.M.E. Credit, June 30, 1993 (A.M.)

“Endometriosis, Operative Hysteroscopy, and Management of Leiomyomata Uteri,”
Moderator of Round Table Discussions, Obstetrics and Gynecology Attendings,
Schenectady, New York, C.M.E. Credit, June 30, 1993 (Noon)

“Endometriosis, Operative Hysteroscopy, and Management of Leiomyomata Uteri,”
Moderator of Round Table Discussions, Obstetrics and Gynecology Attendings,
Schenectady, New York, C.M.E. Credit, June 30, 1993 (P.M.)

“Operative Hysteroscopy, Operative Laparoscopy, and Laparoscopic Assisted Vaginal
- Hysterectomy,” Moderator of Round Table Discussions, Obstetrics and
Gynecology Attendings, Utica, New York, C.M_E. Credit, July 1, 1993

“Endometriosis and Management of Leiomyomata Uteri,” Moderator of Round Table
Discussions, Obstetrics and Gynecology Attendings, Boston, Massachusetts, July 27,
1993

“Endometriosis and Management of Leiomyomata Uteri,” Dinner Meeting, Obstetrics
and Gynecology Attendings, Providence, Rhode Island, July 27, 1993

“Management of Fibroid Uterus,” Obstetrics and Gynecology Grand Rounds, Obstetrics
and Gynecology Attendings and Residents, Jamaica Hospital, Jamaica, New York,
C.M.E. Credit, August 31, 1993

“GnRH Analogs and Add-Back Therapy,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Chilton Memorial Hospital, Pompton
Plains, New Jersey, C.M.E. Credit, September 7, 1993

“Alternatives to Hysterectomy” and “Management of Uterine Leiomyomata,” Moderator
of Round Table Discussions, Obstetrics and Gynecology Attendings, New York, New
York, September 14, 1993

“Medical and Surgical Benefits of GnRH Agonists,” Moderator of Round Table

Discussions, Obstetrics and Gynecology Attendings, New York, New York, September
17, 1993

“Endometriosis and GnRH Agonist-Add-Back Therapy,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Wharton, New Jersey, September 17, 1993

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“Endometriosis and Surgical Uses of GnRH Agonists,” Round Table Discussion,
Obstetrics and Gynecology Attendings, Hartford, Connecticut, September 20, 1993

“Endometriosis and Surgical Uses of GnRH Agonists,” Round Table Discussion,
Obstetrics and Gynecology Attendings, Springfield, Massachusetts, September 20, 1993

“Alternatives to the Traditional Hysterectomy,” Obstetrics and Gynecology Grand
Rounds, Obstetrics and Gynecology Attendings and Residents, Brookdale Hospital
Medical Center, Brooklyn, New York, C.M.E. Credit, September 22, 1993

“Operative Hysteroscopy,” Hudson Valley Obstetrics and Gynecology Society
Meeting, Obstetrics and Gynecology Attendings, Middletown, New York, C.M.E.
Credit, September 22, 1993

“Endometrial Ablation,’ Dinner Meeting, Obstetrics and Gynecology Attendings, Hope,
New Jersey, September 27, 1993

“Fibroid Management and Add-Back Therapy,” Dinner Meeting, Obstetrics and
Gynecology Attendings, West Orange, New Jersey, September 29, 1993

“Endometrial Ablation,” Dinner Meeting, Obstetrics and Gynecology Attendings, New
Brunswick, New Jersey, October 4, 1993

“Hysteroscopy,” Lecture, Medical Students, Long Island Jewish Medical Center, Lake
Success, New York, October 6, 1993

“Indications and Contraindications of Endoscopy Part II,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings and Nurses, South Nassau
Communities Hospital, Oceanside, New York, C.MLE. Credit, October 7, 1993

“Alternatives to Traditional Hysterectomy: Endometrial Ablation and Laparoscopic
Hysterectomy,” Obstetrics and Gynecology Attendings, Residents, and Physician
Assistants, Coney Island Hospital, Brooklyn, New York, C.M.E. Credit, October 14, 1993

“Operative Hysteroscopy: Endometrial Ablation and Resection of Submucous
Leiomyomata and Myoma Coagulation,” Obstetrics and Gynecology Attendings, Dinner
Meeting, Obstetrics and Gynecology Attendings, White Plains, New York, October 14,
1993

“Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds, Obstetrics and
Gynecology Attendings, Northern Westchester Hospital, Westchester, New York, C.M.E.
Credit, November 2, 1993

“Endometrial Ablation and Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and
Gynecology Attendings, East Brunswick, New Jersey, November 3, 1993

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“Leiomyoma Coagulation,” Hospital Meeting, Obstetrics and Gynecology Attendings, St.
Peter's Medical Center, New Brunswick, New Jersey, November 3, 1993

“Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology Attendings,
Hartford, Connecticut, November 4, 1993

“Medical and Surgical Treatment of Uterine Leiomyomata,” Symposium: New Concepts
in Obstetrics and Gynecology, Obstetrics and Gynecology Attendings and Nurses, Paoli
Memorial Hospital, Paoli, Pennsylvania, November 5, 1993

“Alternatives to the Traditional Hysterectomy” and “Endometriosis,” Inter-Medical
Grand Rounds, Internists, Family Practioners, Urologists, Surgeons, and Obstetrician and
Gynecologists, Southern Maryland Hospital, Clinton, Maryland, C.M.E. Credit,
December 1, 1993

“Alternatives to the Traditional Hysterectomy,” Dinner Meeting, Obstetrician and
Gynecologists, Great Neck, New York, December 6, 1993

“Endometrial Ablation,” Obstetrics and Gynecology Grand Rounds, Syosset Hospital,
C.M.E. Credit, December 7, 1993
“Pitfalls in Operative Hysteroscopy,’" Nassau Surgical Society Day, Uniondale, New
York, C.MLE. Credit, December 8, 1993

“Operative Hysteroscopy and Laparoscopic Hysterectomy,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, St. Claire's Riverside Medical
Center, Denville, New Jersey, C.M.E. Credit, December 20, 1993

“LAVH,” Round Table Discussion, Obstetrics and Gynecology Attendings, Newburg,
New York, January 19, 1994

“Prevention and Management of Postoperative Dilutional Hyponatremia,” Anesthesia
Attendings, South Nassau Communities Hospital, Oceanside, New York, C.MLE. Credit,
January 24, 1994

“Endometrial Ablation and Resection of Submucous Leiomyoma,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and
Medical Students, Long Island Jewish Medical Center, Lake Success, New York, C.M.E.
Credit, January 26, 1994

“Endometrial Ablation, Resection of Submucous Leiomyomata,” Dinner Meeting,
Obstetrics and Gynecology Attendings, La Mascote, Commack, New York, J anuary 26,
1994

“Alternatives to Hysterectomy and Endometriosis,” Dinner Meeting, Obstetrics and
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Gynecology Attendings, Hartford, Connecticut, January 31, 1994

“Management of Uterine Leiomyomata,” Obstetrics and Gynecology Residents, Long
Island Jewish Medical Center, Lake Success, New York, February 4, 1994

“Laparoscopic Assisted Vaginal Hysterectomy,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Albany, New York, February 13, 1994

“Endometrial Ablation and Resection of Submucous Leiomyomata,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and
Midwives, Brigham and Women's Hospital, Boston, Massachusetts, March 2, 1994

“Endometrial Ablation and Resection of Submucous Leiomyomata,” Dinner Program,
Obstetrics and Gynecology Attendings, Worcester, Massachusetts, March 2, 1994

“Endometrial Ablation and Myoma Coagulation,” Dinner Program, Obstetrics and
Gynecology
Attendings, Albany,
New York, March 7,
1994

“Endometrial Ablation, Resection of Submucous Leiomyomas, and Myoma
Coagulation,” Dinner Program, Obstetrics and Gynecology Attendings, Port Jefferson,
New York, March 10, 1994

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, March 11,
1994

“Alternatives to Hysterectomy,” Dinner Meeting, Obstetrics and Gynecology Attendings,
Farmingdale, New Jersey, March 24,
1994

“Advanced Gynecologic Endoscopic Surgery,” Obstetrics and Gynecology Attendings,
Williamstown, Massachusetts, April 6, 1994

“Advanced Gynecologic Endoscopic Surgery,” Obstetrics and Gynecology Attendings,
Berkshire, Massachusetts, April 7, 1994

“Operative Hysteroscopy” and “‘Dilutional Hyponatremia,” Operating Room Nurses,
South Nassau Communities Hospital, Oceanside, New York, April 11, 1994

“Endometrial Ablation” and “Laparoscopic Leiomyoma Coagulation,” Dinner Panel
Discussion, Obstetrics and Gynecology Attendings, Tarreytown, New York, April 18,

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1994

“Alternatives to Hysterectomy,” Dinner Meeting, Obstetrics and Gynecology Attendings,
New York, New York, April 20, 1994

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, April 22, 1994

Operative Laparoscopy and Hysteroscopy Workshop; Lectures presented: “Operative
Hysteroscopy---Endometrial Ablation,” “LAVH,” “Harmonic Scalpel,” and
“Laparoscopic Management of Myomata,” Uniondale, New York, C.MLE. Credit, April
29, 1994

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Toronto, Canada, May 5, 1994

“Complications of Operative Laparoscopy,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Christ Hospital, Jersey City, New Jersey, May 9,
1994

“Laparoscopic Assisted Vaginal Hysterectomy” and “Management of Leiomyomata Uteri
Including Myoma Coagulation,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Central
General Hospital, Plainview, New York, C.M.E. Credit, May 12,
1994

“Management of Leiomyomata Uteri Including Myoma Coagulation,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology Attendings,
Residents, and Medical Students, SUNY Health Science Center at
Syracuse, New York, C.M.E. Credit, May 13, 1994

“Laparoscopic Assisted Vaginal Hysterectomy” and “Management of Leiomyomata Uteri
Including Myoma Coagulation,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Good
Samaritan Hospital, West Islip, New York, C.M.E. Credit, May 17,
1994

“Endometrial Ablation” and “Management of Leiomyomata Uteri Including Myoma

Coagulation,” Rockland County Obstetrics and Gynecology Society Dinner Meeting,
Obstetrics and Gynecology Attendings, Rockland County, New York, C.M.E. Credit,
May 18, 1994

“Laparoscopic Hysterectomy,” Dinner Meeting, Obstetrics and Gynecology Attendings,
Whippany, New Jersey, May 19, 1994
“Chronic Pelvic Pain: Endometriosis and Uterine Leiomyomata,” Family Practice Grand

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Rounds, Family Practice Attendings and Residents, South Nassau Communities Hospital,
Oceanside, New York, C.M.E. Credit, May 26, 1994

“Management of Leiomyomata Uteri Including Myoma Coagulation,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and
Medical Students, Hackensack Medical Center, Hackensack, New Jersey, C.M.E. Credit,
June 3, 1994

Controversies in Gynecology: A Managed Care Perspective; Lectures Presented:
“Long-term Use of GnRH Agonists: Add-back Therapy” and “The Role of Myoma

Coagulation,” Washington, D.C., C.M.E. Credit, June 23-25, 1994

“Myoma Coagulation,” Obstetrics and Gynecology Attendings, Obstetrics and
Gynecology Grand Rounds, St. Vincent's Hospital, Worcester, Massachusetts, C.M.E.
Credit, June 28, 1994

“Myoma Coagulation,” Obstetrics and Gynecology Attendings, Obstetrics and
Gynecology Grand Rounds, Westchester County Obstetrics and Gynecology Society,
Purchase, New York, C.M.E. Credit, June 28, 1994

“Gynecologic Endoscopy including Myoma Coagulation,” Round Table Discussion,
Obstetr
ics and
Gynec
ology
Attendi
ngs,
Jersey
City,
New
Jersey,
July
12,
1994

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, July 20, 1994

“Alternatives to Hysterectomy,” Round Table Discussion, Obstetrics and Gynecology
Attendings, Whippany, New Jersey, July 26, 1994

“Endometrial Ablation” and “Laparoscopic Myoma Coagulation,” Round Table

Discussion, Obstetrics and Gynecology Attendings, Long Branch, New Jersey, August 4,
1994

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“Myolysis,” Obstetrics and Gynecology Attendings, Residents, and Medical Students,
Riverside Methodist Hospital, Columbus Ohio, August 9, 1994

“Alternatives to Hysterectomy,” Dinner Meeting, Obstetrics and Gynecology Attendings,
Bayport, New York, August 17, 1994

‘Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, August 31,
1994

“Endometrial Ablation and Myoma Coagulation,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Hicksville, New York, September 1, 1994

“Endometrial Ablation and Myoma Coagulation,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Princeton, New Jersey, September 16, 1994

“Gynecologic Endoscopy Case Discussions: Endometriosis, GnRH-Add-Back Therapy,
and Leiomyoma Management,” Breakfast Meeting, Obstetrics and Gynecology
Attendings, Boston, Massachusetts, September 21, 1994

“Endometriosis, Endometrial Ablation, and Myoma Coagulation,” Dinner Meeting,
Obstetrics and Gynecology Attendings, Staten Island, New York, September 22, 1994

“Laparoscopic Birch Procedure,” Panel Discussion, Obstetrics and Gynecology
Attendings, Long Island, New York, October 5, 1994

“Endometrial Ablation,” Dinner Meeting, Obstetrics and Gynecology Attendings, Boston,
Massachusetts, October 7, 1994

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, October 12,
1994

“Laparoscopic Leiomyoma Coagulation” and “GnRH Agonist-Add-Back Therapy,”
Gynecology Update: Important Issues and Controversies Facing the Gynecologist Today
(Endoscopy Symposium), Obstetrics and Gynecology Attendings, C.M.E. Credit, October
15, 1994

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, New York, New York, October 24, 1994

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology

Attendings, Poughkeepsie,
New York, October 28, 1994

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“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Carle Clinic and Foundation, Urbana, Iinois, C.M.E. Credit, November 2,
1994

“Endometrial Ablation,” Dinner Meeting, Obstetrics and Gynecology Attendings,
Summit, New Jersey, November 1994

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, November 7,
1994

“Complications of Laparoscopy,” Medical Students, Residents, Obstetrics and
Gynecology Attendings, Nassau County Medical Center, East Meadow, New York,
C.M.E. Credit, November 15, 1994

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Minneapolis, Minnesota, November 16, 1994

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Riverside Hospital, Minneapolis, Minnesota,
C.M.E. Credit, November 17, 1994

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, St. Paul
Ramsey Hospital, St. Paul, Minnesota, C.M.E.
Credit, November 17, 1994

“Critical Appraisal of Gynecologic Endoscopy,” Obstetrics and Gynecology Attendings,
Society of Obstetrics and Gynecology, Toronto, Canada, November 22, 1994

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Danbury Hospital, Danbury, Connecticut, C.M.E.
Credit, November 28, 1994

“Endometrial Ablation, Resection of Submucous Leiomyomas, Laparoscopic Leiomyoma
Coagulation,” Best Practices in Ob/Gyn teleconference, Obstetrics and Gynecology
Attendings of Kaiser Permanente Medical Group, San Francisco, California, December 3,
1994

“Evaluation and Management of Chronic Pelvic Pain,” South Nassau Communities
Hospital Annual Meeting, Barbados, C.M.E. Credit, December 5-9, 1994

“Laparoscopic Leiomyoma Coagulation,” Dinner Program, Obstetrics and Gynecology
Attendings, Syracuse, New York, December 13, 1994

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“Endometrial Ablation and Resection of Submucous Leiomyomata,” Dinner Program,
Obstetr
ics and
Gynec
ology
Attendi
ngs,
Albany
, New
York,
Decem
ber 16,
1994

“Endometrial Ablation and Resection of Submucous Leiomyomata,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and
Medical Students, North Shore Medical Center, Manhasset, C.M.E. Credit, January 11,
1995

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, January 25,
1995

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings and Residents, Fairfax Hospital, Fairfax, Virginia,
C.MLE. Credit, January 31, 1995

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings and Residents, Butterworth Hospital, Grand
Rapids, Michigan, C.M.E. Credit, February 1, 1995

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Detroit, Michigan, February 1, 1995

“Laparoscopic Leiomyoma Coagulation Case Presentation, Obstetrics and Gynecology
Residents, Yale Medical School, Hartford, Connecticut, C.M.E. Credit, February
2, 1995

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings and Residents, Yale Medical School, Hartford,
Connecticut, C.M.E. Credit, February 2, 1995

“Laparoscopic Letomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Hartford, Connecticut, February 2, 1995

“GnRH Agonists for the Treatment of Leiomyomata,” Luncheon Meeting, Obstetrics and
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Gynecology Attendings, Uniondale, New York, February 28, 1995

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Malden Hospital, Boston, Massachusetts, C.M.E.
Credit, March 2, 1995

"Medical Management and Surgical Treatment of Uterine Leiomyomata," Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, March 8, 1995

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Beth Israel Hospital, Newark, New Jersey,
C.MLE. Credit, March 20, 1995

Obstetrics and Gynecology Clinic Coverage, Obstetrics and Gynecology Residents, North
Shore University
Hospital, Manhasset,
New York, March 24,
1995

“Medical Management and Surgical Treatment of Uterine Leiomyomata," Medical
Students, Long Island Jewish Medical Center, New Hyde Park, New York, April 13, 1995

“Endomyometrial Resection,” and “Resection of Submucous Leiomyomata,” Advances
in Gynecology: Improving Outcomes, New York, New York, C.MLE. Credit, April

21-22, 1994

“Current Medical and Surgical Management of Uterine Leiomyomata (including

Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Attendings, Kaiser

Permanente, Washington, D.C., April 27, 1995

“Transcervical Endometrial Ablation and Resection of Submucous Leiomyomata,”
Obstetrics and Gynecology Attendings, Kaiser Permanente, Falls Church, Virginia, April
27, 1995

“Endometriosis and GnRH Agonist Add-Back Therapy,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings and Residents, Our Lady of Mercy
Hospital, Bronx, New York, C.MLE. Credit, May 5, 1995

“Operative Hysteroscopy,” Obstetrics and Gynecology Grand Rounds, Obstetrics and
Gynecology Attendings, NY Downtown Hospital, C.M.E. Credit, May 12, 1995

“Endometrial Ablation” and “Resection of Submucous Leiomyomata,” Obstetrics and
Gynecology Attendings, Century Same Day Surgery, Latham, New York, May 13, 1995

“Management of Leiomyomata Uteri with Myolysis,” Obstetrics and Gynecology Grand
Rounds, Obstetrics and Gynecology Attendings, St. Michaels Medical Center,

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Newark, New Jersey, C.M.E. Credit, May 31, 1995

“Management of Leiomyomata Uteri with Myolysis,” Obstetrics and Gynecology Grand
Rounds, Obstetrics and Gynecology Attendings and Residents, Hayward Kaiser
Permanente, Hayward, California, C.M.E, Credit, June 29, 1995

“Management of Leiomyomata Uteri with Myolysis,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Hayward Kaiser Permanente, Hayward, California, June 29,
1995

“Management of Leiomyomata Uteri with Myolysis,” Obstetrics and Gynecology Grand
Rounds, Obstetrics and Gynecology Attendings and Residents, Oakland Kaiser
Permanente, Oakland, California, C.M.E. Credit, June 30, 1995

“Medical Management and Surgical Treatment of Uterine Leiomyomata,” Medical

Students, Long Island Jewish Medical Center, New Hyde Park, New York, July 5, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Wykoff Hospital,

Brooklyn,

New York, C.M.E. Credit, July 14, 1995

“Management of Leiomyomata Uteri (including Myolysis),” United HealthCare of the
Midlands, Obstetrics and Gynecology Attendings, Omaha, Nebraska, August 21, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, University of Nebraska Medical
School, Omaha, Nebraska, C.M.E. Credit, August 21, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and Nurses, New
England Medical Center, Boston, Massachusetts, C.M.E. Credit, September 18, 1995

“Options in Myoma Management,” Obstetrics and Gynecology Grand Rounds, Obstetrics
and Gynecology Attendings, Residents, and Nurses, Melrose-Wakefield Hospital,
Melrose, Massachusetts, C.M.E. Credit, September 18, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Dinner Meeting, Obstetrics and Gynecology Attendings, Harvard Medical Center,
Boston, Massachusetts, September 18, 1995

‘Management of Leiomyomata Uteri (including Myolysis) and Endometrial Ablation,”
Obstetrics and Gynecology, Obstetrics and Gynecology Grand Rounds, Obstetrics and
Gynecology Attendings, Good Samaritan Hospital, Brockton, Massachusetts, C.M.E.
Credit, September 19, 1995

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“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Dinner Meeting, Obstetrics and Gynecology Attendings, New England Medical
Center, Boston, Massachusetts, C.M.E. Credit, September 20, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Residents, and Nurses,
Boston City Hospital, Boston, Massachusetts, C.M.E. Credit, September 20, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics
and Gynecology Attendings,
Sharpe HealthCare, San
Diego, California, C.M.E.
Credit, September 21, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, John Peter Smith Hospital, Fort
Worth, Texas, C.M.E. Credit, October 3, 1995

“Management of Leiomyomata Uteri (including Myolysis},” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Baylor University Medical
Center, Dallas, Texas, C.M.E. Credit, October 3, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Dinner Meeting, Kaiser Permanente Obstetrics and Gynecology Attendings, Dallas,
Texas, C.M.E. Credit, October 3, 1995

“Management of Leiomyomata Uteri (including Myolysis),” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, United Hospital, Portchester,
New York, October 11, 1995

“Management of Leiomyomata,” Residents of Local (Nassau) Community, South Nassau
Communities Hospital, Oceanside, New York, October 23, 1995

“Laparoscopic Letomyoma Coagulation,” Luncheon Conference, Obstetrics and
Gynecology Attendings, The World Congress of Gynecologic Endoscopy, AAGL 24th
Annual Meeting, Orlando, Florida, C.M.E. Credit, November 11, 1995

“Update on Use of GnRH Agonists,” Dinner Meeting, Obstetrics and Gynecology
Attendings, Baltimore, Maryland, November 13, 1995

“Update on Use of GnRH Agonists,” Obstetrics and Gynecology Grand Rounds, Dinner

Meeting, Obstetrics and Gynecology Attendings, Washington Hospital Center,
Washington, D.C., C.M.E. Credit, November 14, 1995

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“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Obstetrics and Gynecology Attendings, Residents, and Medical Students, San Francisco
Kaiser Permanente, San Francisco, California, April 22, 1996

“Alternatives to Hysterectomy and Laparoscopic Leiomyoma Coagulation,” Obstetrics
and Gynecology Grand
Rounds, Obstetrics and Gynecology
Attendings, Travis Air Force Base,
Sacramento, California, April 22,
1996

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Attendings, San Francisco Kaiser Permanente, S. City/Redwood City, California, April
22, 1996

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Attendings, San
Rafael Kaiser Permanente, Obstetrics and Gynecology Residents, San Rafael, California,
April 23, 1996

“Laparoscopic Leiomyoma Coagulation,” Dinner Meeting, Obstetrics and Gynecology
Residents, Stanford University, Stanford, California, April 23, 1996

“Laparoscopic Myolysis: An Alternative to Hysterectomy for Myomas” and
“Hysteroscopic Resection of Submucous Myomas,” Update 1966: Current Issues and
New Techniques in Gynecology, Obstetrics and Gynecology Attendings, San Francisco,
California, C.M.E., July 26-27, 1996

"Endometrial Ablation," Obstetrics and Gynecology Grand Rounds, Obstetrics and
Gynecology Attendings, Residents, and Medical Students, Long Island Jewish Medical
Center, Lake Success, New York, C.M.E. Credit, September 4, 1996

"Endometrial Ablation,” Obstetrics and Gynecology Grand Rounds, Obstetrics and
Gynecology Attendings, Residents, and Medical Students, South Nassau Communities
Hospital, Oceanside, New York, C.M.E. Credit, September 19, 1996

“Laparoscopic Management of Leiomyomas” and “Hysteroscopic Resection of

Leiomyomas,” Contemporary Issues in the Management of Endometriosis and Uterine
Fibroids: Improving Outcomes, Obstetrics and Gynecology Attendings, Houston, Texas,

C.M.E. Credit, February 14-15, 1997

“Laparoscopic Myolysis” and “Operative Hysteroscopy,” Fifth Annual Gynecologic
Endoscopic Seminar, Obstetrics and Gynecology Attendings and Nurses, Holy Cross
Hospital, Silver Springs, Maryland, C.M.E. Credit, March 22, 1997

“Management and Treatment of Uterine Leiomyomata,” Dinner Meeting, Obstetrics and
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Gynecology Attendings, Albany, New York, April 10, 1997

“Laparoscopic Leiomyoma Coagulation,” American College of Obstetrics and
Gynecology-New York Central District Meeting, Obstetrics and Gynecology Attendings,
Syracuse, New York, C.M.E. Credit, May 15, 1997

“Management and Treatment of Uterine Leiomyomata,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Poughkeepsie, New York, June 11, 1997

“Management and Treatment of Uterine Leiomyomata,” Obstetrics and Gynecology
Grand Rounds, Obstetrics and Gynecology Attendings, Poughkeepsie, New York,
June12, 1997

“Diagnosis and Treatment of Mild Endometriosis,” Dinner Meeting, Obstetrics and
Gynecology Attendings, Nurse Practioners and Registered Nurses, Buffalo, New York,
July 9, 1997

“Laparoscopic Leiomyoma Coagulation,” Obstetrics and Gynecology Grand Rounds,
Genesee Memorial Hospital, Obstetrics and Gynecology Attendings, Rochester, New
York, C.M.E. Credit, July 10, 1997

“Laparoscopic Myolysis: An Alternative to Hysterectomy for Fibroids “ and
Hysteroscopic Resection of Submucous Myomas,” Current Issues and New Techniques in
Gynecology Seminar, Obstetrics and Gynecology Attendings, San Francisco, California,
C.MLE. Credit, July 11-12, 1997

“Laparoscopic Myolysis,” “Laparoscopic Myomectomy,” and “Endometrial Ablation,”
Alternatives to Hysterectomy Seminar, Obstetrics and Gynecology Attendings, Baton
Rouge, Louisiana, C.M..E. Credit, July 23, 1997

“Laparoscopic Myolysis,” “Laparoscopic Myomectomy,” and “Endometrial Ablation,”
Alternatives to Hysterectomy Seminar, Obstetrics and Gynecology Attendings, Baton
Rouge, Louisiana, C.M.E. Credit, July 24, 1997

“Laparoscopic Myolysis,” Obstetrics and Gynecology Attendings and Nurses, South
Nassau Communities Hospital, Oceanside, New York, C.M_E. Credit, September 18,
1997

“Laparoscopic Myolysis,” Obstetrics and Gynecology Attendings, Bronx Obstetrics and
Gynecology Society, Bronx, New York, C.M.E. Credit, October 6, 1997

“Medical and Surgical Management of Uterine Leiomyomata,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology, Family Practice, General
Practice, and Internal Medicine Attendings, Lawrence Hospital, Bronxville, NY, CME
Credit, November 11, 1997

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“Laparoscopic Management of Uterine Leiomyomata,” “Hysteroscopic Approaches to the
Management of Uterine Bleeding,” and “Avoiding and Recognizing Hysteroscopic

Complications,” Management of Complex Gynecologic Conditions: Improving Outcomes
Seminar, New Yoro, New York, C.M.E. Credit, July 24, 1998

“Surgical Management of Uterine Leiomyomata,” Gynecology for the Next Millennium
Seminar, Chicago, Illinois, C.M.E. Credit, July 31-August 1, 1998

“Hysteroscopic Resection of Submucous Leiomyomata,” Obstetrics and Gynecology
Grand Rounds, Obstetrical and Gynecology Attendings and Nurses, South Nassau
Communities Hospital, Oceanside, New York, C.M.E. Credit, November 19, 1998

“Flysteroscopic Resection of Submucous Leiomyomata,” Obstetrics and Gynecology
Attendings, Aruba Hospital, Aruba, West Indies, Aprill, 1999

“Introduction, Indications, and Contraindications of Hysteroscopy,” “Hysteroscopic
Treatment of Abnormal Uterine Bleeding: Endomyometrial Resection and Resection of
Submucous Fibroids,” “Recognizing and Managing Complications in Hysteroscopic
Surgery,” Diagnostic and Operative Hysteroscopic Course/Workshop, Gynecology
Attendings, G.A.T.E. Institute of Holy Cross Hospital, Silver Spring, Maryland, C.M.E.
Credit, April 17, 1999

“Surgical Techniques and Avoiding Complications” and “Medical and Surgical
Management of Fibroids,” Making a Difference: New Treatment Strategies for Difficult
Gynecologic Disorders, Gynecology Attendings, New York, New York, C.M.E. Credit,
July 9, 1999

“Office Diagnostic Hysteroscopy” and ‘Operative Hysteroscopy of Intracavitary
Disease,” Advanced Concepts in Diagnostic and Operative Hysteroscopy, Gynecology
Attendings, Washington, D.C., C.M.E. Credit, October 22-23, 1999

“Medical and Surgical Management of Uterine Leiomyomata,” Obstetrics and
Gynecology Grand Rounds, Obstetrics and Gynecology, Gynecology Attendings,
Maimonides Hospital, C.M.E. Credit, November 19, 1999

“Introduction, Indications, and Contraindications of Hysteroscopy,” “Distention Media in
Operative Hysteroscopy: Prevention and Management of Excessive Fluid Intravasation,”
“Avoiding and Recognizing Complications in Hysteroscopic Surgery,” Diagnostic and
Operative Hysteroscopic Course/Workshop, Gynecology Attendings, G.A.T.E. Institute
of Holy Cross Hospital, Silver Spring, Maryland, C.M.E. Credit, December 11, 1999

“Management of Abnormal Uterine Bleeding,” Changing Perspectives: A New Outlook
on Gynecologic Disorders, Gynecology Attendings and Residents, Medical Education
Collaborative, New York, New York, C.M.E. Credit, February 11, 2000

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“Alternatives to Hysterectomy,” Dinner Meeting, Gynecology Attendings, Waterbury,
Connecticut, C.M.E. Credit, April 14, 2000

“Diagnostic Hysteroscopy and Pathophysiology,” “Management of Abnormal Uterine
Bleeding,” and “Hysteroscopic Myomectomy and Endometrial Ablation/Resection,”
Innovative Treatment for Uterine Fibroids, Gynecology Attendings, G.A.T.E. Institute of
holy Cross Health System, Silver Spring, Maryland, C.M.E. Credit, June 3, 2000

“Dynamics and Management of Uterine Distension Media,” Hysterectomy Alternatives,
Obstetrics and Gynecology Attendings, Residents, and Medical Students, NYU
Downtown Hospital, New York, New York, C.M.E. Credit, October 11, 2003

VISITING PROFESSORSHIP PROGRAMS:

Live Case Demonstrations of Operative Hysteroscopy and Resectoscopy Including
Endometrial Ablation, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, March 31, 1992

Live Case Demonstration of Laparoscopic Hysterectomy, Obstetrics and
Gynecology Attendings, South Nassau Communities Hospital, Oceanside, New York,
September 23, 1992

Live Case Demonstrations of Operative Hysteroscopy and Resectoscopy Including
Endometrial Ablation, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, November 23, 1992

Live Case Demonstrations of Operative Hysteroscopy and Resectoscopy Including
Endometrial Ablation, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, December I, 1992

Live Case Demonstration of Hysteroscopic Endometrial Ablation, Obstetrics and
Gynecology Attendings and Residents, Nassau County Medical Center, East Meadow,
New York, December 28, 1992

Live Case Demonstrations of Operative Hysteroscopy and Resectoscopy Including
Endometrial Ablation, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, January 7, 1993

Live Case Demonstrations of Endometrial Ablation, Obstetrics and Gynecology
Attendings, Mid-Island Hospital, Bethpage, New York, February 18, 1993

Live Case Demonstrations of Endometrial Ablation, Obstetrics and Gynecology
Attendings, Brookdale Hospital, Brooklyn, New York, C.M.E. Credit, May 18, 1993

Live Case Demonstration of Endometrial Ablation, Obstetrics and Gynecology
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Attendings and Residents, Nassau County Medical Center,
East Meadow, New York, C.M.E. Credit, June 4, 1993

Live Case Demonstration of Laparoscopic Assisted Vaginal Hysterectomy, Obstetrics and
Gynecology Attendings and Residents, Nassau County
Medical Center, East Meadow, New York, August 4, 1993

Live Case Demonstration of Operative Hysteroscopy, Obstetrics and Gynecology
Attendings, Newton Memorial Hospital, Newton, New Jersey, August 13, 1993

Live Case Demonstrations of Endomyometrial Resection, Obstetrics and Gynecology
Attendings,
Mid-Island
Hospital,
Bethpage,
New York,
August 18,
1993

Live Case Demonstrations of Laparoscopic Hysterectomy and Laparoscopic Assisted
Vaginal Hysterectomy, Obstetrics and Gynecology Attendings, Glens Falls Memorial
Hospital, Glens Falls, New York, August 24, 1993

Live Case Demonstrations of “Laparoscopic Hysterectomy" and “Laparoscopic Assisted
Vaginal Hysterectomy, Obstetrics
and Gynecology Attendings, Glens
Falls Memorial Hospital, Glens
Falls, New York, August 25, 1993

Live Case Demonstration of “Laparoscopic Assisted Vaginal Hysterectomy and
Laparoscopic Umbilical Herniorrhaphy," Obstetrics and Gynecology Attendings
andResidents, Nassau County Medical Center, East Meadow, New York, September 1,
1993

Live Case Demonstrations of Video Laser Laparoscopy with Laparoscopic Uterine Nerve
Ablations, Obstetrics and Gynecology Attendings, Newton Memorial Hospital,
Newton, New Jersey, September 28, 1993

Live Case Demonstration of Laparoscopic Assisted Vaginal Hysterectomies, Obstetrics
and Gynecology Attendings, Mid-Island Hospital, Bethpage, New York, October 13,
1993

Live Case Demonstration of Laparoscopic Assisted Vaginal Hysterectomies, Obstetrics
and Gynecology Attendings, Residents, and Physician Assistants, Coney Island

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Hospital, Brooklyn, New York, October 14, 1993

Live Case Demonstrations of Endomyometrial Resection, Obstetrics and Gynecology
Attendings, White Plains Hospital, White Plains, New York, October 15, 1993

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomies and
Endometrial Ablations, Obstetrics and Gynecology Attendings, St. Clare's Riverside
Medical Center, Whippany, New Jersey, November 19, 1993

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomies, Mid-Island
Hospital, Obstetrics and Gynecology Attendings, Mid-Island Hospital, Bethpage, New
York, January 7, 1994

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomy and
Laparoscopic
Leiomyoma
Coagulations,
Obstetrics and
Gynecology
Attendings, St. Luke's
Hospital, Newburg,
New York, January
20, 1994

Live Case Demonstrations of Endomyometrial Resection and Myoma Coagulations,
Obstetrics and Gynecology Attendings, Mid-Hudson Valley
Hospital, Peekskill, NY, January 29, 1994

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomies, Obstetrics
and Gynecology Attendings, St. Peter's Hospital, Albany, New York, February 14, 1994

Live Case Demonstration of Laparoscopic Hysterectomies, Obstetrics and Gynecology
Attendings, White Plains Hospital, White Plains, New York, April 16, 1994

Live Case Demonstrations of Endomyometrial Resection, Obstetrics and Gynecology
Attendings, White Plains Hospital, White Plains, New York, C.M.E. Credit, April 23,
1994

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomies, Obstetrics
and Gynecology Attendings, St. Peter's Hospital, Albany, New York, May 6, 1994

Live Case Demonstrations of Laparoscopic Hysterectomy, Obstetrics and Gynecology
Attendings, Morristown Memorial Hospital, Morristown, New Jersey, May 20, 1994

Live Case Demonstration of Laparoscopic Assisted Vaginal Hysterectomy, Obstetrics and
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Gynecology
Attendings,
Mercy
Hospital,
Rockville
Centre, June
30, 1994

Live Case Demonstrations of Myoma Coagulation, Obstetrics and Gynecology,
Attendings, White Plains Hospital, White Plains, New York, August 13, 1994

Live Case Demonstrations of Endomyometrial Resection, Obstetrics and Gynecology
Attendings, White Plains Hospital, White Plains, New York, September 19, 1994

Live Case Demonstrations of Endomyometrial Resection, Obstetrics and Gynecology
Attendings, Overton Hospital, Summit, New Jersey, November 5, 1994

Live Case Demonstrations of Myoma Coagulation, Obstetrics and Gynecology
Attendings, Crouse Irving Memorial Hospital, Syracuse, New York, November 12, 1994

Live Case Demonstrations of Myoma Coagulation and Endomyometrial Resection,
Obstetrics and Gynecology Attendings, White Plains Hospital,
White Plains, New York, November 18, 1994

Live Case Demonstrations of Myoma Coagulation and Endomyometrial Resection, and
Gynecology Attendings, White Plains Hospital, White Plains, New York, December 13,
1994

Live Case Demonstrations of Myoma Coagulation, Obstetrics and Gynecology
Attendings, Crouse Irving Memorial Hospital, Syracuse, New York, December 14, 1994

Live Case Demonstrations of Endomyometrial Resection and Resection of Submucous
Leiomyomata, Obstetrics and Gynecology Attendings, St. Peter's Hospital,
Albany, New York, December 17, 1994

Live Case Demonstrations of Myoma Coagulation and Endomyometrial Resection,
Obstetrics and Gynecology Attendings, Butterworth
Hospital, Grand Rapids, Michigan, February 1, 1995

Live Case Demonstrations of Endomyometrial Resection and Resection of Submucous
Leiomyomata, Obstetrics and Gynecology Residents, North Shore University
Hospital, Manhasset, New York, March 10, 1995

Live Case Demonstration of Laparoscopic Leiomyoma Coagulation, Obstetrics and
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Gynecology Residents and Attendings, South
Nassau Communities Hospital, Oceanside, New
York, March 14, 1995
Live Case Demonstration of Endomyometrial Resection Obstetrics and Gynecology
Attendings, Mid-Island Hospital, Bethpage, New York, April 13, 1995

Live Case Demonstrations of Myoma Coagulation and Endomyometrial Resection,
Obstetrics and Gynecology Attendings, Kaiser Permanente Surgical Center, Falls Church,
Virginia, April 27, 1995

Live Case Demonstration of Transcervical Resection of Submucous Leiomyomata,
Myoma Coagulation and Endometrial Ablation, Obstetrics and Gynecology Attendings,
White Plains Hospital, White Plains, New York, May 5, 1995

Live Case Demonstrations of Transcervical Resection of Submucous Leiomyomata and
Endometrial Ablation, Obstetrics and Gynecology Attendings, Century Same Day
Surgery Center, Latham, New York, May 13, 1995

Live Case Demonstrations of Endomyometrial Resection, Transcervical Resection of
Submucous Leiomyomata, and Myoma Coagulation and Endometrial Ablation, Obstetrics
and Gynecology Attendings, White Plains Hospital, White Plains, New York, May 22,
1995

Live Case Demonstrations of Endomyometrial Resection, Transcervical Resection of
Submucous Leiomyomata, and Myoma Coagulation, Obstetrics and Gynecology
Attendings, South Nassau Communities Hospital, Oceanside, New York, June 6, 1995

Live Case Demonstrations of Endomyometrial Resection, Transcervical Resection of
Submucous Leiomyomata, and Myoma Coagulation, Obstetrics and Gynecology
Attendings, South Nassau Communities Hospital, Oceanside, New York, July 18, 1995

Live Case Demonstrations of Transcervical Resection of Submucous Leiomyomata, and
Endometrial Ablation, Obstetrics and Gynecology Attendings, White Plains Hospital,
White Plains, New York, October 25, 1995

Live Case Demonstration of Endomyometrial Resection, Obstetrics and Gynecology
Attendings, South Nassau Communities Hospital, Oceanside, New York, October 27,
1995

Live Case Demonstrations of Endomyometrial Resection; Laparoscopic Leiomyoma
Coagulation; Laparoscopic Myomectomy, Obstetrics and Gynecology Residents and
Attendings, South Nassau Communities Hospital, Oceanside, New York, November 17,
1995

Live Case Demonstration of Hysteroscopic Resection of Submucous Leiomyomata and
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Endomyometrial Resection, Obstetrics and Gynecology Residents and Attendings, Long
Island Jewish Medical Center, New Hyde Park, New York, November 21, 1995

Live Case Demonstration of Hysteroscopic Resection of Submucous Leiomyomata and
Abdominal Myomectomy, Obstetrics and Gynecology Residents and Attendings, Long
Island Jewish Medical Center, New Hyde Park, New York, December 15, 1995

Live Case Demonstration of Laparoscopic Subtotal Hysterectomy, Obstetrics and
Gynecology Attendings, South Nassau Communities
Hospital, Oceanside, New York, December 27, 1995

Live Case Demonstrations of Hysteroscopic Resection of Leiomyomata, Obstetrics and
Gynecology Attendings, Recovery Inn, Menlo Park, California, March 7, 1996

Live Case Demonstrations of Endomyometrial Resection and Resection of Submucous
Leiomyomas, Obstetrics and
Gynecology Attendings,
South Nassau Communities
Hospital, Oceanside, New
York, March 12, 1996

Live Case Demonstrations of Hysteroscopic Resection of Leiomyomata, Obstetrics and
Gynecology Attendings, South Nassau Communities Hospital, Oceanside, New York,
April 17, 1996

Live Case Demonstrations of Hysteroscopic Resection of Leiomyomata and
Endomyometrial Resection, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, April 17, 1996

Live Case Demonstrations of Hysteroscopic Resection of Leiomyomata and
Endomyometrial
Resection, Obstetrics
and Gynecology
Attendings, South
Nassau Communities
Hospital, Oceanside,
New York, May 29,
1996

Live Case Demonstrations of Operative Laparoscopy, Obstetrics and Gynecology
Attendings and Long Island Jewish
Medical Center Resident, South
Nassau Communities Hospital,
Oceanside, New York, July 2, 1996

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Live Case Demonstrations of Operative Laparoscopy, Obstetrics and Gynecology
Attendings and Long Island Jewish Medical Center Resident, South Nassau Communities
Hospital, Oceanside, New York, July 3, 1996

Live Case Demonstrations of Hysteroscopic Resection of Leiomyomata and
Endomyometri
al Resection,
Obstetrics and
Gynecology
Attendings,
South Nassau
Communities
Hospital,
Oceanside,
New York,
July 9, 1996

Live Case Demonstrations of Laparoscopic Subtotal Hysterectomy, Obstetrics and
Gynecology Attendings, South Nassau Communities Hospital, Oceanside, New York,
July 9, 1996

Live Case Demonstrations of Laparoscopic Subtotal Hysterectomy, Obstetrics and
Gynecology Attendings, South Nassau Communities Hospital, Oceanside, New York,
July 17, 1996

Live Case Demonstration of Laparoscopic Salpingooophorectomy, Obstetrics and
Gynecology Attendings, South Nassau Communities Hospital, Oceanside, New York,
July 23, 1996

Live Case Demonstrations of Laparoscopic Assisted Vaginal Hysterectomy and
Endomyometrial Resection, Obstetrics and Gynecology Attendings, South Nassau
Communities Hospital, Oceanside, New York, July 24, 1996

PUBLICATIONS:
JOURNAL ARTICLES:

Brunquell P and Phillips DR: An ecological survey of the symbiotic fauna of Northern
Long Island. Probe 2:45-48, 1971

Phillips DR: A comparison of endometrial ablation using the Nd: YAG laser or
electrosurgical techniques. Journal of American Association of Gynecologic
Laparoscopists 1(3): 235-239, 1994

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Phillips DR: Laparoscopic myoma coagulation (myolysis). New Developments in
Medicine and Drug Therapy
3(3):46-47, 1994

Phillips DR: Laparoscopic leiomyoma coagulation. Journal of Gynaecologic Endoscopy
4(2):5-12, 1995

Phillips DR, Nathanson HG, Meltzer SM, Milim SJ, Haselkorn JS, Johnson, P:
Transcervical electrosurgical resection of submucous leiomyomas for chronic
menorrhagia. Journal of American Association of Gynecologic Laparoscopists
2(2): 147-153, 1995

Phillips DR: Endometrial ablation for postmenopausal uterine bleeding induced by
hormone replacement therapy. Journal of American Association of Gynecologic
Laparoscopists 2(4):389-393, 1995

Phillips DR: Endometrial resection: An alternative to hysterectomy for women with
heavy menstrual periods. New Developments in Medicine and Drug Therapy 4(3):40,
1995

Phillips DR, Nathanson HG, Milim SJ, Haselkorn JS: 100 laparoscopic hysterectomies in
private practice and visiting professorship programs. Journal of American
Association of Gynecologic Laparoscopists 3(1):47-53, 1995

Phillips DR, Nathanson HG, Milim SJ, Haselkorn JS: Assessment of magnetic resonance
imaging for diagnosing of uterine adenomyomata. Journal of American
Association of Gynecologic Laparoscopists 3(2):245-250, 1996

Parker WH, Canis M, Childers JM, Phillips DR, Brumsted J: Laparoscopic management
of benign cystic teratomas during
pregnancy. American Journal of Obstetrics
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Phillips DR, Nathanson HG, Milim SJ, Haselkorn JS: Experience with laparoscopic
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Journal of
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Gynecologic
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1997

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hyponatremic encephalopathy: A comparison of serum sodium and osmolality during
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American Association of Gynecologic Laparoscopy 4(5):567-576, 1997

Nezhat CH, Nezhat FR, Phillips DR, Tazuke S, Seidman DS, Nezhat CR: Laparoscopic
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Gynecologic Laparoscopy 4(5):605-608, 1997

Phillips DR, Goldfarb H: Laparoscopic Leiomyoma Coagulation (Myolysis). Surgical
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187-191, 1997

BOOK CHAPTER:

Phillips DR: Laparoscopic Leiomyoma Coagulation (Myolysis). In: Endoscopic Surgery
for Gynaecologists. Diamond M, Sutton C, editors. 2nd Edition, London, W.B. Saunders
Company, 1998, pp 280-288

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ABSTRACTS:

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Phillips DR. Comparison of endometrial ablation performed by electrosurgery versus
laser. Abstracts for the 23rd World Congress of Hysteroscopy (February 9-11, 1996)
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Phillips DR. Endometrial ablation in menopausal women on estrogen replacement
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Gynecologic Laparoscopists 1(4) Supp!:S29, 1994

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World Congress of Hysteroscopy (February 9-11, 1996) p24, 1996

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Association of Gynecologic
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American Association of Gynecologic Laparoscopists 3(4) Suppl:538-39, 1996

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Gynecologic Laparoscopists 3(4) Suppl:S39, 1996

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operative laparoscopy during pregnancy. Journal of American Association of
Gynecologic Laparoscopists 3(4) Suppl:S50, 1996

Phillips DR. Adequacy of OPERASTAR System endometrial samples for histology.
Journal of American Association of Gynecologic Laparoscopists 3(4) Suppl:S62, 1996

Phillips DR, Nathanson HG, Milim SJ, Haselkorn JS. Effects of different distention
medium fluid temperatures on intravasation, blood loss, and hypothermia during
transcervical resection of endomyometrium and any existing submucous leiomyoma.
Journal of American Association of Gynecologic Laparoscopists 4(4) Suppl:S44, 1997

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medium fluid temperatures on intravasation, blood loss, and hypothermia during

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transcervical resection of endomyometrium and any existing submucous leiomyoma.
Journal of American Association of Gynecologic Laparoscopists 5(3) Suppl:$39, 1998

BOOK REVIEW:

Myomectomy, edited by Bieber EJ and Maclin VM, reviewed by Phillips DR, Journal of
American Association of Gynecologic Laparoscopists 6(2): 244, 1999

PAPER, POSTER, VIDEO PRESENTATIONS AT NATIONAL AND INTERNATIONAL
MEETINGS:

The World Congress of Gynecologic Endoscopy, AAGL 22nd Annual Meeting: “A
Comparative Study: Ablation of the endometrium using either the Nd:YAG laser or
electrosurgical techniques (Paper)” and “Laparoscopic Leiomyoma Coagulation (Paper),”
San Francisco, California, C.M.E. Credit, November 12-14, 1993

European Congress of Gynecologic Endoscopic Surgery; Third Congress of European
Society of Gynecologic Endoscopy; Sixth Congress of European Society of Gynecologic
Endoscopy: “Laparoscopic Leiomyoma Coagulation (Paper),” Rome, Italy, June 15-18,
1994

Second International Gynecologic Endoscopic Film Festival, “Laparoscopic Myoma
Coagulation” and
“Comparison of
Bipolar and Nd:YAG
Laser Myoma
Coagulation (Video),”
San Diego, California,
C.MLE. Credit, July
18-19, 1994

The 14th World Congress of the International Federation of Gynecology and Obstetrics,
(FIGO), “Laparoscopic Leiomyoma Coagulation (Paper),” Montreal,
Canada, September 24-30, 1994

The World Congress of Gynecologic Endoscopy, AAGL 23nd Annual Meeting:

“Endometrial Ablation in Postmenopausal Women on Hormone Replacement Therapy
Complaining of
Abnormal Uterine
Bleeding (Paper)” and
“Effectiveness of
Transcervical
Electrosurgical
Resection of

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Submucous
Leiomyomas for
Chronic Menorrhagia
(Paper),” New York,
New York, C.M.E.
Credit, October
19-23, 1994

The Society of Laparoendoscopic Surgeons’ Third Annual Meeting: Endo Expo '94;
“Laparoendos
copic Surgery:
New Vistas,”
“Endometrial
ablation in
postmenopaus
al women on
hormone
replacement
therapy
complaining
of abnormal
vaginal
bleeding” and
"Effectiveness
of
Transcervical
Electrosurgica
1 Resection of
Submucous
Leiomyomas
for Chronic
Menorrhagia,”
C.M.E. Credit,
December
8-10, 1994

World Congress of Gynecologic Endoscopy Conference: “Effectiveness of Transcervical

Electrosurgical Resection of Submucous Leiomyomas for Chronic Menorrhagia
(Paper)” and “Endometrial Ablation in Postmenopausal Women on Hormone
Replacement Therapy Complaining of Abnormal Uterine Bleeding (Poster),” C.M.E.
Credit, Jerusalem, Israel, February 26-March 3, 1995

The World Congress of Gynecologic Endoscopy, AAGL 24th Annual Meeting:
“Laparoscopic Management of Benign Cystic Teratomas during Pregnancy (Paper),”

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“Laparoscopic Leiomyoma Coagulation, (Paper),” “Relationship of Endometrial
Thickness with the Menstrual Timing of Depot Leuprolide Acetate (Paper),” “100
Laparoscopic Hysterectomies in Private Practice and Visiting Professorship Programs
(Paper),” Orlando, Florida, C.M.E. Credit, November 10-12, 1995

The Society of Laparoendoscopic Surgeons’ Fourth Annual Meeting: Endo Expo '95;
“Laparoendoscopic Surgery: New Vistas,” “Laparoscopic Leiomyoma Coagulation
(Paper),” “Relationship of Endometrial Thickness with the Menstrual Timing of Depot
Leuprolide Acetate (Paper),” “100 Laparoscopic Hysterectomies in Private Practice and
Visiting Professorship Programs (Paper),” Orlando, Florida, C.M.E. Credit, December
7-9, 1995

Second World Congress of Hysteroscopy: “The Effect of Dilute Vasopressin Solution
(0.25%) on Cervical Dilatation during Operative Hysteroscopy (Paper),” “The Effect of
Dilute Vasopressin Solution (0.25%) on Intraoperative Blood Loss during Operative
Hysteroscopy (Paper),” “Hysteroscopic Resection of Adenomyoma (Video Presentation),
“Relationship of Endometrial Thickness with the Menstrual Timing of Depot Leuprolide
Acetate Administration (Paper),” “Comparison of the Blood Chemistry Changes during
Operative Hysteroscopy Using 5.0% Mannitol vs. 1.5% Glycine (Paper) Miami, Florida,
C.MLE. Credit, February 9-11, 1996

World Congress of Gynecologic Endoscopy, AAGL 25th Annual Meeting: “The Effect of
Dilute Vasopressin Solution on Intraoperative Blood Loss during Operative
Hysteroscopy: A Randomized, Controlled Trial (Paper),” “Laparoscopic Bipolar
Coagulation for the Conservative Treatment of Adenomyomata (Poster),” “The Effect of
Dilute Vasopressin Solution on Cervical Dilatation during Operative Hysteroscopy: A
Randomized, Controlled Trial (Paper),” “Laparoscopic Leiomyoma Coagulation
(Myolysis): Long Term Follow Up of 167 Patients (Poster; Third Place Award),”
“Comparison of the Blood Chemistry Changes during Operative Hysteroscopy Using
5.0% Mannitol vs. 1.5% Glycine (Paper),” “Adequacy of the FemRx Opera Star System
Endometrial Tissue Samples for Histology (Paper),” Chicago, Illinois, C.M.E. Credit,
September 25-29, 1996

World Congress on Hysteroscopy and Related Technologies in the Management of
Abnormal Uterine Bleeding (AUB): “Laparoscopic Leiomyoma Coagulation,” “The
Effects of Two Different Distension Medium Fluid Temperatures on Intravasation, Blood
Loss, and Hypothermia during Transcervical Resection of Endomyometrium and Any
Existing Submucous Leiomyoma: A Randomized Trial,” “Preventing Hyponatremic
Encephalopathy: A Comparison of Serum Sodium and Osmolality during Operative
Hysteroscopy with 5.0% Mannitol and 1.5% Glycine Distention Media,” Miami Beach,
Florida, C.M.E. Credit, February 27-March 1, 1998

World Congress of Gynecologic Endoscopy, AAGL 27th Annual Meeting:
“Abdominal Approaches: Laparoscopy or Laparotomy; Myomectomy or Myolysis
(presentation in Post Graduate Course: Evaluation and Management of Abnormal Uterine

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Bleeding),” “Laparoscopic Hysterectomy for Fibroids: Techniques, Indications, and
Complications (presentation in Post Graduate Course: Management of Uterine Fibroids
(Co-Chairman]),” “Laparoscopic Myomectomy: Techniques, Indications, Complications,
and Fertility Results (presentation in Post Graduate Course: Management of Uterine
Fibroids [Co-Chairman]),” “Myolysis: Techniques, Indications, and Complications
(presentation in Post Graduate Course: Management of Uterine Fibroids
[Co-Chairman]),” “Hysteroscopic Resection of Submucous Fibroids: Techniques,
Indications, and Complications (presentation in Post Graduate Course: Management of
Uterine Fibroids [Co-Chairman)]),” “Absorption of Physiologic Fluids versus
Nonphysiologic Fluids (discussant in Free Communications-Hysteroscopy and
Endometrial Ablation),” “The Effects of Two Different Distension Medium Fluid
Temperatures on Intravasation, Blood Loss, and Hypothermia during Transcervical
Resection of Endomyometrium and Any Existing Submucous Leiomyoma: A
Randomized Trial (presentation in Free Communications-Hysteroscopy and Endometrial
Ablation),” Atlanta, Georgia, C.M.E. Credit, October 14-19, 1998

World Congress of Gynecologic Endoscopy, AAGL 28th Annual Meeting: “Laparoscopic
Myomectomy and Myolysis (Postgraduate Lecture)” and “Prevention and Management of
Fluid Overload; Monitoring Input and Output (Panel Discussion),” Las Vegas, Nevada,
C.M.E., Credit, November 8-11, 1999

World Congress of Diagnostic and Operative Hysteroscopy: “Effects of Different
Distension Medium Fluid Temperatures on Intravasation, Blood Loss, and Hypothermia
during Transcervical Resection of Endomyometrium and Any Existing Submucous
Leiomyoma: A Randomized Trial,” Miami Beach, Florida, C.M.E. Credit, February
25-27, 2000

World Congress of Gynecologic Endoscopy, AAGL 30th Annual Meeting:

“Endometrial Ablation/Endomyometrial Resection and Resection of Submucous
Fibroids” and “Laparoscopic Myolysis” (presentations in Post Graduate Course in which I
was Chairman: Alternatives to Hysterectomy; Evaluation and Management of Abnormal
Uterine Bleeding) and Moderator: Endometrial Ablation Presentations, San Francisco,
California, C.M.E. Credit, November 16-19, 2001

World Congress of Gynecologic Endoscopy, AAGL 31th Annual Meeting: Moderator:
Open Communications 13 (Miscellaneous), Miami, Florida, C.M.E. Credit, November
20-24, 2002

World Congress of Gynecologic Endoscopy, AAGL 32th Annual Meeting:

“Dynamics and Management of Uterine Distention Media” and Hysteroscopic
Endometrial Ablation/Resection of Endomyometrium” (presentations in Post Graduate
Course) and Co-Moderator: Hysteroscopy, Las Vegas, Nevada, C.M.E. Credit, November
19-22, 2003

World Congress of Gynecologic Endoscopy, AAGL 33th Annual Meeting:
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Co-Moderator: Plenary I Endometrial Ablation I, San Francisco, California, C.M.E.
Credit, November 10-13, 2004

World Congress of Minimally Invasive Gynecology, AAGL 35" Annual Meeting:
“Office Liposuction and Fat Transfer,” Las Vegas, Nevada, C.M.E. Credit, November
6-9, 2006

PAPER, POSTER OR ABSTRACT PRESENTATIONS AT LOCAL MEETINGS:

Research Day, “Laparoscopic Leiomyoma Coagulation (Poster),” “A Comparison of
Endometrial Ablation Using the Nd:YAG Laser or Electrosurgical Technique
(Abstract),” “Transcervical Electrosurgical Resection of Submucous Leiomyomas for
Chronic Menorrhagia (Abstract),” “Endometrial Ablation for Postmenopausal Uterine
Bleeding Induced by Hormone Replacement Therapy (Abstract),” “Laparoscopic
Hysterectomy and Its Variations in Private and Academic Institutions: 100 Cases
(Abstract),” Long Island Jewish Medical Center, New Hyde Park, New York, March 21,
1995

NATIONAL GYNECOLOGIC COURSE DEVELOPER AND DIRECTOR:

Operative Hysteroscopy and Resectoscopy, Lecture Presented: “Use of GnRH
Agonist Therapy in Hysteroscopic Surgery,” South Nassau Communities Hospital,
Oceanside, New York, 14 Credit Hours in Category I and 14 American College of
Obstetrics and Gynecology Cognate Credits, March 19-20, 1993

Operative Hysteroscopy, Resectoscopy. and Laparoscopy, Lectures Presented:
“Introduction to Endoscopy,” “Use of GnRH Agonist Therapy in Endoscopic

Surgery,” and “Laparoscopic Hysterectomy,” Live Case Presentation: “Endometrial
Ablation, Resection of Submucous Leiomyomata, and Myoma Coagulation,” South
Nassau Communities Hospital, Oceanside, New York. 16 Credit Hours in Category I and
14 American College of Obstetrics and Gynecology Cognate Credits, September 10-11,
1993

HOSPITAL GYNECOLOGIC COURSE DEVELOPER AND DIRECTOR:

Gynecologic Endoscopy for Nurses, Lectures Presented: “Hysteroscopy: History,
Indications, Contraindications, and Complications,” “Hysteroscopic Distension Media,”
“Endoscopic Instrumentation,” “Hysteroscopic Medications,” and “Patient Care:
Preoperative, Intraoperative, and Postoperative,” South Nassau Communities Hospital,
Oceanside, New York, 9 Nursing Contact Hours, September 9-10, 1994

PROGRAM CHAIRMAN:

Advanced Operative Endoscopy, Lectures Presented: “Introduction to Endoscopy,”
“Endoscopic Instrumentation,” “Endometriosis,” “Adhesiolysis,” “Laparoscopic

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Management of Leiomyomata Uteri,” and “Laparoscopic Hysterectomy,” Interfaith
Hospital, Brooklyn, New York, 7 Credit Hours in Category I, May 22, 1993

Advances in Gynecology: Improving Outcomes, Lectures Presented: Endomyometrial

Resection,” “Resection of Submucous Leiomyomata,” and “Algorithms for the Treatment
of Asymptomatic and Symptomatic Leiomyomata,” Medical Education Collaborative,
New York, New York, 9 Credit Hours in Category I, April 21-22, 1994

Update 1996: Current Issues and New Techniques in Gynecology, Lectures Presented:

“Laparoscopic Myolysis: An Alternative to Hysterectomy for Myomas” and
“Hysteroscopic Resection of Submucous Myomas,” Medical Education Collaborative,
San Francisco, California, 9.5 Credit Hours in Category I, July 26-27, 1996

Management of Gynecologic Disorders for the Next Millennium: Improving Outcomes,

Lectures Presented: “Hysteroscopic Resection of Submucous Leiomyomas” and
“Laparoscopic Treatment of Leiomyomas,” Medical Education Collaborative, New York,
New York, 9.5 Credit Hours in Category I, September 5-6, 1997

Key Strategies and Techniques for Advanced Operative Laparoscopy and Hysteroscopy
(Including Hands-on Animaate Tutorial Lab and Live Surgery), Lectures Presented:

“Introduction and Overview of Hysteroscopic Surgery,” “Hysteroscopic Instrumentation
and Distending Media-How to Use Them and Stay Out of Trouble at the Same Time,”
and “Hysteroscopic Polypectomy aand Myomectomy-Instrumentation, Techniques, and
Safety Considerations,” American Association of Gynecologic Laparoscopists,
Cincinnati, Ohio, 16 Credit Hours in Category I, November 30-December 1, 2001

PROGRAM PRECEPTOR:

Gynecologic Endoscopy, Lectures Presented: “Endometrial Ablations” and “Management

of Leiomyomata,” Live Surgery Performed: “Endometrial Ablation and Leiomyoma

Coagulation,” Staten Island University Hospital, Staten Island, New York, 14 Credit
Hours in Category I, June 4-5, 1993

Preceptor, “Hands-On” Operative Endoscopy Laboratory with live and inanimate tissue,

Operative Laparoscopy and Hysteroscopy
Workshop, Uniondale, New York, C.M.E. Credit, April 30,

1994

Preceptor, “Hands-On” Operative Endoscopy Laboratory, Advanced Operative
Endoscopy, Interfaith Hospital, Brooklyn, New York, 7 Credit Hours in Category I, May
22, 1993

MEDIA APPEARANCES AND PUBLICATIONS:
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TELEVISION:
“Laparoscopic Hysterectomy,” NBC News, Channel 4, November 11-12, 1991
“Endometrial Ablation,” NBC News, Channel 4, March 8-9, 1992

“Alternatives to Hysterectomy and Abnormal Uterine Bleeding,” To Your Good Health,
Long Island News, Channel 12, July 11-12, 1992

“Alternatives to Hysterectomy and Myoma Coagulation,” Long Island News, Channel 12,
December 15-16, 1992

“Altematives to Hysterectomy,” Long Island News, Channel 12, January 11, 1993

“Effects of Caffeine on the Fetus,” Long Island News, Channel 12, February 2, 1993

“Hysterectomy: Do I Have A Choice?” Long Island Public Broadcasting Station, Channel

21, September 16, 19, and 22, 1993; February 15, 1994; April 26, 1994; May 24, 1994;
July 5 and 9, 1995; June 30, 1997

RADIO:

“Alternatives to Hysterectomy,” Young at Heart, WHPC 90.3 FM, September 17 and
20, 1992

NEWSPAPER ARTICLES:

“Laser Surgery Making Inroads on L.I.,"” The New York Times, Section 13:8, April 18,
1993

“Endometrial Ablation Stems Irregular Bleeding in ERT Patients.” Ob. Gyn. News
30(1):9, January 1, 1995

“Resectoscopic Myomectomy Effective, Safe for Treatment of Chronic Menorrhagia.”
Ob. Gyn. News 30(3): 34, February 1, 1995

“TEMR or TEA Safely Ends Postmenopausal Bleeding Induced by Hormone Rx,”
Ob/Gyn News 3(1):7, March 1995

“Belaboring the Point,” (The Windup), Newsday, June 25, 1995

“Mannitol Found Safer than Glycine during Hysteroscopy,” Medical Tribune, January 22,
1998

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BOOK REFERENCE:

How To Find The Best Doctors in New York Metro Area For You And Your Family,
Castle Connolly Medical Ltd, 2.122, 1994

How To Find The Best Doctors in New York Metro Area For You And Your Family,
Castle Connolly Medical Ltd, 1997
VIDEO:

Phillips DR, Goldfarb H: Myolysis: Myoma Coagulation,” Gynecologic Workshops, No.
1, March 1994

Phillips DR, Goldfarb H: Myoma Coagulation (Myolysis) Comparison of Nd:YAG Laser
vs. Bipolar Needle Technique, MVP Video Journal of Obstetrics/Gynecology, Volume
VI, No.0, March 1995

Phillips DR, Goldfarb H: Myoma Coagulation (Myolysis) Comparison of Nd:YAG Laser

“Endometrial Ablation/Endomyometrial Resection,” Best Practices in Obstetrics and
Gynecology, Kaiser-Permanent Medical Group, California, December 3, 1995

MEDICAL INSTRUMENTATION DESIGNED:

"Phillips Bipolar Coagulation Needles" for Laparoscopic Leiomyoma Coagulation
(Myolysis); CAT# 1430-B and 1445-B, J.E.M.D. Medical, 14 Herzog Place, Hicksville,
New York 11801

"Phillips Bipolar Interchangeable Needle System (B.LN.S.}" for Laparoscopic
Leiomyoma Coagulation (Myolysis); J.E.M.D. Medical, 14 Herzog Place, Hicksville,
New York 11801

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CONTINUING MEDICAL EDUCATION:

Clinical and Histopath Overview of Obstetrics and Gynecology
9/24/85 - 9/28/85 (39 hrs.)

St. Barnabas Medical Center

New York, New York

Annual Semmelweis-Waters Ob/Gyn Conference
3/27/87 - 3/30/87 (19 hours)

UMDNIJ-NJ Medical School Department Ob/Gyn
Atlantic City, New Jersey

Advanced Gynecologic Surgery
4/12/87 - 4/15/87 (20 hrs.)

St. Barnabas Medical Center
New York, New York

Gynecologic Laser Surgery
5/22/87 - 5/23/87 (10 hrs.)
Germantown Hospital and Medical Center
Germantown, Pennsylvania

The YAG Laser: Applications in Gynecology
1/29/88 - 1/30/88 (14 hrs.)

AAGL

Phoenix, Arizona

Clinical Workshop in Hysteroscopy
3/18/88 - 3/20/88 (14 hrs.)

Cedars Sinai Medical Center

Los Angeles, California

Ablation of the Endometrium with Laser
3/24/88 (8 hrs.)

Grant Medical Center

Columbus, Ohio

Advanced Laparoscopic and Hysteroscopic Surgery
4/29/88 - 4/30/88 (15 hrs.)

University of Massachusetts

Worcester, Massachusetts

Contact and Panoramic Hysteroscopy
6/03/88 - 6/04/88 (11 hrs.)

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Harvard Medical School
Boston, Massachusetts

Advanced Colposcopy
6/15/88 - 6/18/88 (15 hrs.)
Danbury Hospital

New York, New York

Specialty Review in Obstetrics and Gynecology
10/15/88 - 10/22/88 (55 hrs.)

Cook County Graduate School of Medicine
Chicago, Illinois

28th Annual Postgraduate Course in Obstetrics and Gynecology
10/25/88 - 10/28/88 (35 hrs.)

College of Physicians and Surgeons of Columbia

New York, New York

14th Annual Ob/Gyn Review

10/30/88 - 11/11/88 (140 hrs.)
University of Miami School of Medicine
Miami, Florida

Ob/Gyn Review Course

11/25/88 - 12/04/88 (140 hrs.)

Perinatal Resources, Inc. & Reproductive Research and Development
Columbus, Ohio

Surgical Hysteroscopy

12/17/88 - 12/18/88 (13 hrs.)

College of Physicians and Surgeons of Columbia
New York, New York

Annual Semmelweis-Waters Ob/Gyn Conference
3/3 1/89 - 4/02/89 (18 hrs.)

UMDNJ-NJ Medical School Department of Ob/Gyn
Atlantic City, New Jersey

Medico-Legal Issues in Obstetrics and Gynecology
4/12/89 - 4/14/89 (19 hrs.)

Harvard Medical School

Boston, Massachusetts

Sixth Annual Seminar in Ob/Gyn Ultrasound
6/09/89 - 6/10/89 (10 hrs.)

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NYU Post Graduate Medical School
New York, New York

Reproductive Endocrinology and Infertility
8/21/89 - 8/26/89 (25 hrs.)
American Fertility Society
Bermuda

Hysteroscopy

9/21/89 (7 hrs.)

George Washington University
Washington, D.C.

Third Annual Update in Pelvic and Vaginal Surgery
11/09/89 - 11/10/89 (12 hrs.)

Texas A&M University College of Medicine

San Antonio, Texas

Advanced Colposcopy HPV Tutorial Carbon Dioxide Laser
11/17/89 - 11/19/89 (12 hrs.)

American Society for Colposcopy and Cervical Pathology
Ponte Verde Beach, Florida

Transvaginal Sonography

11/29/89 - 12/01/89 (24 hrs.)

University of Rochester School of Medicine
Rochester, New York

Diagnosis and Treatment of HPV Lesions of the Genital Tract
12/10/89 - 12/13/89 (18 hrs.)

University of Alabama

Acapulco, Mexico

Annual Semmelweis-Waters Ob/Gyn Conference
3/09/90 - 3/11/90 (18 hrs.)

UMDNSJ-NIJ Medical School Department of Ob/Gyn
Atlantic City, New Jersey

Colposcopy, Hysteroscopy, Laser Surgery
6/05/90 - 6/09/90 (36.5 hrs.)

St. Joseph's Hospital of Atlanta, Georgia
Atlanta, Georgia

Intensive Vaginosonography
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6/15/90 (7 hrs.)

American Association of Gynecological Laparoscopists
San Antonio, Texas

Annual Semmelweis-Waters Ob/Gyn Conference
3/04/91 - 3/06/91 (18 hrs.)

UMDNJ-NIJ Medical School Department of Ob/Gyn
Atlantic City, New Jersey

Clinical Course for Surgical Pelviscopy

6/06/91 - 6/09/91 (15 hrs.)

International Federation of Gynecologic Laparoscopists
New York, New York

Laparoscopic Hysterectomy
V24/91 - 7/25/91 (14 hrs.)
Chattanooga Women's Laser Center
Chattanooga, Tennessee

Laparoscopic Surgery and Urology
12/11/91 (4 hrs.)

The Nassau Surgical Society

East Meadow, New York

The Second International Symposium on Gynecologic Surgery and Adhesions
Prevention

1/31/92 - 2/02/92 (16 hrs.)

Symposia Medicus

Palm Beach, Florida

How To Use What The Experts Know To Avoid Laparoendoscopic Surgery
Complications

3/13/92 - 3/14/92 (11 hrs.)

The Society of Laparoendoscopic Surgeons

Palm Beach, Florida

Mid-Atlantic Course in Operative Hysteroscopy and Resectoscopy
4/10/92 - 4/11/92 (14 hrs.)

Harbor Hospital Center

Baltimore, Maryland

Medical Liability Mutual Insurance Company Risk Management Conference
5/18/92 (5 hrs.)

MMLIC

Garden City, New York

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International Congress of Gynecologic Endoscopy
9/23/92 - 9/27/92 (24 hrs.)

AAGL 21st Annual Meeting

Chicago, Llinois

11th Clinical Course for Pelviscopic Hysterectomy without Colpotomy
11/20/92 - 11/21/92 (15 hrs.)

Staten Island University Hospital

Staten Island, New York

The Nassau Surgical Society 12th Annual Clinic Day
12/03/92 (4 hrs.)

Nassau Surgical Society

Uniondale, New York

4th Annual Medical Conference
12/5/92 - 12/12/92 (10 hrs.)

South Nassau Communities Hospital
Aruba

First Annual Gynecology Conference:
Operative Hysteroscopy and Resectoscopy
3/19/93 - 3/20/93 (14 hrs.)

South Nassau Communities Hospital
Oceanside, New York

Advanced Operative Endoscopy
3/22/93 - 5/24/93 (14 hrs.)
Interfaith Hospital

Brooklyn, New York

Gynecological Endoscopy
6/05/93 - 6/06/93 (14 hrs.)
Staten Island University Hospital
Staten Island, New York

Advanced Operative Gynecology
6/11/93 (8 hrs.)

Ethicon

Somerville, New Jersey

Operative Laparoscopy and Hysteroscopy
6/26/93 - 6/27/93 (14 hrs.)

John F. Kennedy Medical Center

Edison, New Jersey

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First International Gynecologic Endoscopic Film Festival
8/27/93 - 8/28/93 (15 hrs.)

AAGL

San Diego, California

Semi-Annual Gynecology Conference:

Operative Hysteroscopy, Resectoscopy, and Laparoscopy
9/10/93 - 9/11/93 (16 hrs.)

South Nassau Communities Hospital

Oceanside, New York

Current Issues in Diagnostic and Operative Hysteroscopy
AAGL 22nd Annual Meeting

11/11/93 (6 hrs.)

San Francisco, California

The World Congress of Gynecologic Endoscopy
AAGL 22nd Annual Meeting

11/12/93 - 11/14/93 (17 hrs.)
San Francisco, California

The Nassau Surgical Society 13th Annual Clinic Day
12/08/93 (4 hrs.)

Nassau Surgical Society

Uniondale, New York

The Fifth International Vaginal Surgery Conference
3/17/94 - 3/19/94 (17 hrs.)
St. Louis, Missouri

Operative Laparoscopy and Hysteroscopy Workshop
4/29/94 - 4/30/94 (15 hrs.)
Uniondale, New York

Laparoscopic Treatment of Pelvic Floor Support Disorders
5/21/94 (7 hrs.)

American Association of Gynecologic Laparoscopists
New York, New York

Medical Liability Mutual Insurance Company Risk Management Conference
5/23/94 (3 hrs.)

MILMIC

Garden City, New York

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56th US Section Annual Meeting and North American Federation Congress
6/9/94 - 6/11/94 (16 hrs.)

International College of Surgeons

Cleveland, Ohio

Advances in Gynecology: A Managed Care Perspective
6/23/94 - 6/25/94 (12.5 hrs.)

Medical Education Collaborative

Washington, D.C.

Second International Gynecologic Endoscopic Film Festival
7/8/94 - 7/9/94 (15 hrs.)

AAGL

San Diego, California

Gynecology Update: Important Issues and Controversies Facing the Gynecologist Today
Muhlenberg Regional Medical Center

10/15/94 (3.5 hrs.)

Jamesburg, New Jersey

The World Congress of Gynecologic Endoscopy
AAGL 23nd Annual Meeting

10/19/94 -10/23/94 (20 hrs.)

New York, New York

Advances in Gynecology: Improving Outcomes
4/21/95 - 4/22/95 (9 hrs.)

Medical Education Collaborative

New York, New York

Voiding Dysfunction in the Female: A Urologic and Gynecologic Perspective
6/10/95 - 6/11/95 (11.0 hrs.)

Long Island Jewish Medical Center

New Hyde Park, New York

Medical Liability Mutual Insurance Company Risk Management Conference
7/19/95 (3 hrs.)

MLMIC

Garden City, New York

Office Laparoscopy Under Local Anesthesia
9/15/95 - 9/16/95 (16 hrs.)

Yale University School of Medicine

New Haven, Connecticut

AAGL 24nd Annual Meeting

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11/9/95 - 11/12/95 (15 hrs.)
AAGL
Orlando, Florida

Second World Congress of Hysteroscopy
2/9/96 - 2/11/96 (17 hrs.)

AAGL

Miami, Florida

Update 1996: Current Issues and New Techniques in Gynecology
7/26 - 7/27/96 (9.5 hrs.)

Medical Education Collaborative

San Francisco, California

AAGL 25th Annual Meeting
9/25/96 - 7/29/96 (15 hrs.)
AAGL

Chicago, Ilinois

Medical Liability Mutual Insurance Company Risk Management Conference
11/16/96 (3 hrs.)

MLMIC

Rosalyn, New York

Contemporary Issues in the Management of Endometriosis and Uterine Fibroids:
Improving Outcomes

2/14/97 - 2/15/97 (10 hrs.)

Medical Education Collaborative

Houston, Texas

Fifth Annual Gynecologic Endoscopy Seminar/Workshop
3/22/97 (8 hrs.)

Holy Cross Hospital

Silver Springs, Maryland

Current Issues and New Techniques in Gynecology
7/10/97 - 7/11/97 (10.5 hrs.)

Medical Education Collaborative

San Francisco, California

Improving Outcomes: Diagnosis and Treatment of Gynecological Disorders into the
21" Century

7/23/97 (3.5 hrs.)

CME Consultants, Inc

Baton Rouge, Louisiana

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Improving Outcomes: Diagnosis and Treatment of Gynecological Disorders into the
2.1% Century

7/23/97 (3.5 hrs.)

CME Consultants, Inc

Metairie, Louisiana

Management of Gynecologic Disorders for the Next Millennium: Improving Outcomes
9/5/97 - 9/6/97 (9.5 hrs.)

Medical Education Collaborative

New York, New York

Obstetrics and Gynecology Section
Thirty-Fourth Annual Clinic Day
12/10/97 (4 hrs.)

The Nassau Surgical Society, Inc.
Uniondale, New York

World Congress on Hysteroscopy and Related Technologies in the Management of
Abnormal Uterine Bleeding (AUB)

2/27/98 - 3/1/98 (16 hrs.)

AAGL

Miami, Florida

Management of Complex Gynecologic Conditions: Improving Outcomes
7/24/98 (6.5 hrs.)

Medical Education Collaborative

New York, New York

Gynecology for the Next Millennium
7/31/98 - 8/1/98 (9.5 hrs.)

Medical Education Collaborative
Chicago, Ilinois

AAGL 27nd Annual Meeting
11/14/98 - 11/19/98 (29 hrs.)
AAGL

Orlando, Florida

Risk Management Seminar
12/5/98 (3 hrs.)

Medical Risk Management, Inc.
Elmhurst, New York

Nassau Surgical Society 35" Annual Clinic Day
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12/9/98 (4 hrs.)
Nassau Surgical Society
Uniondale, New York

Diagnostic and Operative Hysteroscpy Course/Workshop
April 17, 1999 (8 hrs.)

G.A.T.E. Institute of Holy Cross Hospital

Silverspring, Maryland

Making a Difference: New Treatment Strategies for Difficult Gynecologic Disorders
7/9/99 (8 hrs.)

Medical Education Collaborative

New York, New York

Advanced Concepts in Diagnostic and Operative Hysteroscopy
10/22/99 - 10/23/99 (10 hrs.)

Education Design

Washington, D.C.

AAGL 28th Annual Meeting
11/8/99 - 11/11/99 (21 hrs.)
AAGL

Los Vegas, Nevada

Diagnostic and Operative Hysteroscopic Course/Workshop
12/11/99 (8 hrs.)

G.A.T.E. Institute of Holy Cross Hospital

Silver Spring, Maryland

Changing Perspectives: A New Outlook in Gynecologic Disorders
2/11/00 (6.5 hrs.)

Medical Education Collaborative

New York, New York

Symposium on Hysteroscopy

2/25/00 - 2/27/00 (15 hrs.)

American Association of Gynecologic Laparoscopists
Miami Beach, Florida

Risk Management Seminar
5/9/00 (3 hrs.)

Medical Risk Management, Inc.
Garden City, New York

Innovative Treatment for Uterine Fibroids Seminar/Workshop
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6/3/00 (7 hrs.)
G.A.T.E. Institute of Holy Cross Hospital
Silver Spring, Maryland

Risk Management Seminar

10/17/01 (3 hrs.)

Medical Malpractice Liability Insurance Company
East Meadow, New York

AAGL 30th Annual Meeting
11/16/01 - 11/19/01 (24 hrs.)
AAGL

Los Vegas, Nevada

Key Strategies and Techniques for Advanced Operative Laparoscopy and Hysteroscopy
11/30/01 - 12/1/01 (16 hrs.)

AAGL

Cincinnati, Ohio

AAGL 31th Annual Meeting
11/20/02 - 11/24/02 (34 hrs.)
AAGL

Miami, Florida

Hysterectomy Alternatives
10/11/03 (9.5 hrs.)

NYU Downtown Hospital
New York, New York

AAGL 32th Annual Meeting
11/19/03 - 11/22/03 (33 hrs.}
AAGL

Los Vegas, Nevada

AAGL 33th Annual Meeting
11/10/04 - 11/13/04 (26 hrs.)
AAGL

Los Vegas, Nevada

Office Lipoplasty Under Local Anesthesia and

Office Based Medical Cosmetic Procedures For The Gynecologic Practice
12/03/04 - 12/05/04 (26 hrs.)

International Society of Cosmetogynecology

Bayonne, New Jersey

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Klein Tumescent Liposuction Course
3/10/05 - 3/12/05 (24 hrs.)

American Academy of Dermatology
San Juan Capistrano, California

Medical Liability Mutual Insurance Company
06/24/06 (4.75 hrs.)

Proactive Risk Management Follow-Up Program
Merrick, New York

American Board of Obstetrics and Gynecology
12/31/05 (25 hrs.)

Annual Board Certification Examination
Dallas, Texas

American Board of Obstetrics and Gynecology
11/01/06 (25 hrs.)

Annual Board Certification Examination
Dallas, Texas

AAGL 35th Annual Meeting
11/06/06 - 11/09/06 (29 hrs.)
AAGL

Los Vegas, Nevada

American Board of Obstetrics and Gynecology
11/26/07 (35 hrs.)

Annual Board Certification Examination
Dallas, Texas

Medical Liability Mutual Insurance Company
05/14/08 (6.0 hrs.)

Proactive Risk Management Follow-Up Program II
Merrick, New York

Maintenance of Certification, Part 7-ABC Examination
12/03/08 (35 hrs.)

Annual Board Certification Examination

Dallas, Texas

Maintenance of Certification, Part J-ABC Examination
10/28/09 (35 hrs.)

Annual Board Certification Examination

Dallas, Texas

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Maintenance of Certification, Part T-ABC Examination
10/28/10 (35 hrs.)

Annual Board Certification Examination

Dallas, Texas

Maintenance of Certification, Part U-ABC Examination
09/26/11 (35 hrs.)

Annual Board Certification Examination

Dallas, Texas

Maintenance of Certification, Part J-ABC Examination
04/30/12 (35 hrs.)

Annual Board Certification Examination

Dallas, Texas

Medical Liability Mutual Insurance Company
03/25/12 (6.0 hrs.)

Proactive Risk Management Follow-Up Program II
Merrick, New York

Ultrasound Video Classroom 2012
01/01/12 - 12/31/12 (32 hrs.)
Thomas Jefferson Medical College
Philadelphia, Pennsylvania

American Institute of Ultrasound in Medicine
03/19/13 (3.0 hrs.)

Ultrasound Articles Review

Merrick, New York

American Institute of Ultrasound in Medicine
03/21/13 (3.0 hrs.)

Ultrasound Articles Review

Merrick, New York

American Institute of Ultrasound in Medicine
2013 Annual Convention

04/06/13 - 04/10/13 (27 hrs.)

New York, New York

American Institute of Ultrasound in Medicine
04/24/13 (4.0 hrs.)

Ultrasound Articles Review

Merrick, New York

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American Institute of Ultrasound in Medicine
04/26/13 (2.0 hrs.)

Ultrasound Articles Review

Merrick, New York

American Institute of Ultrasound in Medicine
04/30/13 (6.0 hrs.)

Ultrasound Articles Review

Merrick, New York

American Institute of Ultrasound in Medicine
06/12/13 (2.0 hrs.)

Ultrasound Articles Review

Merrick, New York

Maintenance of Certification, Part U-ABC Examination
08/19/13 (25 hrs.)

Annual Board Certification Examination

Dallas, Texas

Ob/Gyn Ultrasound-Core Course
09/18/13 - 09/20/13 (17.75 hrs.)
Thomas Jefferson Medical College
Philadelphia, Pennsylvania

The 2013-2014 Medical-Dental-Legal Update
03/3 1/14 - 04/03/14 (20.0 hrs.)

Marriott Resort Aruba

Aruba

Maintenance of Certification, Part I-ABC Examination
06/06/14 (25 hrs.)

Annual Board Certification Examination

Dallas, Texas

Maintenance of Certification, Part D-ABC Examination
10/22/14 (10 hrs.)

Annual Board Certification Examination

Dallas, Texas

Maintenance of Certification, Part H-ABC Examination
09/10/15 (35 hrs.)
Annual Board Certification Examination

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Dallas, Texas

American Institute of Ultrasound in Medicine
2016 Annual Convention

03/18/16 - 03/21/16 (29 hrs.)

New York, New York

Maintenance of Certification, Part T-ABC Examination
05/18/16 (35 hrs.)

Annual Board Certification Examination
Dallas, Texas

Total Hours: 2,215.50 Hours

PERSONAL:

Married

Two Children

Four Grandchildren

Place of Birth: Brooklyn, New York
REFERENCES:

Upon Request

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